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                                                                                  District of New Jersey [LIVE] (Newark)
                                                                           CIVIL DOCKET FOR CASE #: 2:24-cv-04445-MEF-LDW


 WATSON v. APPLE INC.                                                                                                                           Date Filed: 04/01/2024
 Assigned to: Judge Michael E. Farbiarz                                                                                                         Jury Demand: Plaintiff
 Referred to: Magistrate Judge Leda D. Wettre                                                                                                   Nature of Suit: 410 Anti-Trust
 Cause: 15:2 Antitrust Litigation                                                                                                               Jurisdiction: Federal Question
 Plaintiff
 JACQUELINE WATSON                                                                                                           represented by JEFFREY B. GITTLEMAN
                                                                                                                                            POGUST GOODHEAD LLC
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 V.
 Defendant
 APPLE INC.


  Date Filed      # Docket Text
  04/01/2024     1 COMPLAINT against APPLE INC. ( Filing and Admin fee $ 405 receipt number ANJDC-15237893) with JURY DEMAND, filed by JACQUELINE WATSON. (Attachments: # 1 Civil Cover Sheet)
                   (GITTLEMAN, JEFFREY) (Entered: 04/01/2024)
  04/02/2024         Judge Michael E. Farbiarz and Magistrate Judge Leda D. Wettre added. (ps) (Entered: 04/02/2024)



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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY



 JACQUELINE WATSON,                       )   Case No._________________
                                          )
 individually and on behalf of all others )
                                          )   CLASS ACTION COMPLAINT FOR
 similarly situated,                          DAMAGES AND INJUNCTIVE
                                          )   RELIEF
                                          )
               Plaintiff,                 )   JURY TRIAL DEMANDED
                                          )
                                          )
       v.                                 )
                                          )
                                          )
 APPLE INC.,                              )
                                          )
               Defendant.                 )
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I.        INTRODUCTION

          1.     Apple Inc.—the largest smartphone manufacturer in the United

States—has employed anticompetitive practices to illegally maintain monopoly

power over the smartphone market. Apple’s goal, as summarized by Steve Jobs in

2010, has been to “lock customers into [Apple’s] ecosystem” and make Apple[’s]

ecosystem even more sticky”1 by erecting technological and other barriers that make

it difficult for consumers to switch to other mobile devices. Instead of competing on

the merits through innovation and price, Apple sought to trap consumers on its

platform, locking them into iPhone usage and forestalling competing products.2

          2.     On March 21, 2024, the Antitrust Division of the United States

Department of Justice and sixteen States sued Apple for violations of Section 2 of

the Sherman Act, citing internal documents that detail Apple’s anticompetitive

conduct. In functioning markets, firms innovate to win business against competitive

threats by making their own products better, cheaper, and more secure. Apple’s

strategy, in contrast, erects artificial barriers to keep users from purchasing

competing devices. The central pillar of Apple’s strategy to “get people hooked to

the ecosystem,” as one Apple executive put it, was to suppress technologies and

innovation that would make it easier for consumers to switch device ecosystems (i.e.,



1
    United States v. Apple Inc., No. 2:24-cv-04055 (D.N.J. filed Mar. 21, 2024) (“DOJ Complaint”), ¶ 3.
2
    DOJ Complaint, page 3.


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replace an iPhone with another manufacturer’s device). By locking in its customer

base, Apple cripples competition from actual and would-be smartphone

manufacturers, resulting in higher prices, lower quality, reduced innovation, reduced

choice, and lower quality output.

      3.      Apple maintained a smartphone monopoly by suppressing five key

technologies that otherwise would have stimulated competition:

           • Super Apps: Super apps can host an array of programs and device
             features and thereby serve as a gateway to accessing the functionality
             of a smartphone. The problem for Apple is that super apps facilitate
             switching devices by allowing users to switch to other devices
             (manufactured by Apple competitors) with the same super apps.
             Recognizing that super apps reduce costs and barriers to switching,
             Apple has blocked them through an array of technological and
             contractual restraints.

           • Cloud Streaming Game Apps: Apple blocked cloud streaming
             gaming apps for similar reasons. Cloud streaming game apps allow
             users to play games in the cloud, decreasing the importance of
             expensive hardware like Apple’s. To prevent cross-platform
             competition, Apple constrained cloud streaming game apps on its
             smartphones.

           • Messaging Apps: Recognizing that high-quality messaging apps with
             cross-platform functionality would threaten its monopoly, Apple
             degrades the functionality of third-party messaging apps. Apple
             restricts cross-platform messaging in part to reinforce “obstacle[s] to
             iPhone families giving their kids Android phones.”

           • Smartwatches: Apple also has made the Apple Watch incompatible
             with non-Apple smartphone devices, such as Android phones, while
             strategically degrading the functionality of third-party cross-platform
             smartwatches. By making the Apple Watch incompatible with other
             smartphones, Apple makes switching even more cost prohibitive; an

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              Apple user would not only need to purchase a new phone, but a new
              smartwatch as well.

           • Digital Wallets: Digital wallets store payment information and permit
             users to pay by “tapping” their smartphone on a payment terminal.
             Apple has blocked third-party digital wallets from accessing the
             technologies needed to perform tap payments using Apple’s devices.
             Apple has thus ensured that only its own proprietary and Apple-specific
             app—Apple Pay—can provide this functionality.

      4.      Apple’s conduct stifles new paradigms that threaten its smartphone

dominance. The cloud, if unrestrained by Apple’s anticompetitive tactics, could

enable high-end functionality on a lower-priced smartphone, or make users device-

agnostic. As one Apple manager recently observed, “Imagine buying a [expletive]

Android for 25 bux at a garage sale and it works fine . . . . And you have a solid

cloud computing device. Imagine how many cases like that there are.” By trapping

consumers within its proprietary ecosystem, Apple has suppressed competition from

other manufacturers to maintain a durable monopoly over the smartphone market.

And Apple has exploited its monopoly power to overcharge hundreds of millions of

consumers on smartphones, resulting in historic returns.

      5.      Today, Apple charges as much as $1,599 for an iPhone, earning a high

margin on each sale. Further, when developers invent a new product or service for

iPhone users, Apple demands up to 30% of the price of an app it did not create. Then,

when a consumer purchases an additional product or service within that app, Apple

extracts up to another 30%, again for something Apple did not create or develop.


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The result is higher prices for American consumers and reduced innovation for

smartphone apps.

      6.    Apple protects its monopoly with a series of restraints that it could not

impose in a competitive market. When customers buy coffee or pay for groceries,

Apple charges a fee for every “tap-to-pay” transaction, imposing its own costly

interchange fee on financial institutions. When an iPhone user runs an internet

search, Google shares some of the advertising revenue generated by the search with

Apple. Consumers like Plaintiff, who purchased iPhones at supracompetitive prices

and have been deprived of innovation in a competitive smartphone market, suffered

harm from Apple’s anticompetitive practices.

      7.    Plaintiff accordingly seeks to represent a Class of individuals who

purchased iPhones directly from Apple. Plaintiff demands a trial by jury and treble

damages, injunctive relief, and other appropriate relief based on Apple’s illicit

monopolization.

II.   PARTIES

      A.    Plaintiff

      8.    Plaintiff Jacqueline Watson is a resident of the State of New York.

Plaintiff Watson purchased an iPhone 11 Pro Max directly from Defendant Apple.




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      B.    Defendant

      9.    Apple Inc. is a corporation incorporated under the laws of California

with its principal place of business at One Apple Park Way, Cupertino, California

95014. Apple is a global technology company and one of the world’s most valuable

public companies with a market capitalization of over $2.5 trillion. In fiscal year

2023, Apple generated annual net revenues of $383 billion and net income of $97

billion. Apple’s net income exceeds any other company in the Fortune 500 and the

gross domestic products of more than 100 countries.

      10.   The iPhone is the primary driver of Apple’s growth and profitability.

Apple gains profit margins of more than 30% on devices alone—significantly higher

than its smartphone competitors. iPhone sales have made up a majority of Apple’s

annual revenue every year since 2012.

      11.   Apple increasingly extracts revenue from iPhone users beyond the

initial smartphone sale. For example, Apple offers iPhone upgrades, apps and in-app

payments, paid digital subscription services (e.g., Apple’s music streaming, TV,

news, gaming, fitness, and cloud storage subscriptions), accessories (e.g., tracking

devices, headphones, chargers, iPhone cases), and more. Apple refers to these

offerings as “Services” and “Wearables, Home, and Accessories,” respectively. In

fiscal year 2023, these offerings accounted for nearly one-third of Apple’s total

revenue, or four times what Apple earned from selling its computers. Some of the


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largest drivers of revenue within these categories are Apple’s smartwatch, the Apple

Watch, and Apple’s App Store, where iPhone users purchase and download apps. In

recent years, Services have accounted for an increasing share of Apple’s revenues,

even as U.S. consumers continue to access these services primarily through the

iPhone. In fiscal year 2023, Apple spent $30 billion on research and development—

and $77 billion on stock buybacks.

III.   JURISDICTION AND VENUE

       12.   The Court has federal subject matter jurisdiction over this action

pursuant to 15 U.S.C. § 26 and 28 U.S.C. §§ 1331 and 1337, as the action alleges

violations of section 2 of the Sherman Act, 15 U.S.C. § 2, that are actionable under

sections 4 and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and 26.

       13.   The Court also has subject matter jurisdiction pursuant to 28 U.S.C. §

1332(d) because this is a class action in which the aggregate amount in controversy

exceeds $5,000,000 and at least one member of the putative class is a citizen of a

state different from that of Apple.

       14.   This Court has personal jurisdiction over Apple, and venue is proper in

this District under Section 12 of the Clayton Act, 15 U.S.C. § 22 and under 28 U.S.C.

§§ 1391 because it purposefully directed its business activity toward this jurisdiction

and had substantial contacts with this jurisdiction.




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      15.    Apple engages in, and its activities substantially affect, interstate trade

and commerce. Apple provides a range of products and services that are marketed,

distributed, and offered to consumers throughout the United States, including the

states in which Plaintiff and the Classes reside, across state lines, and internationally.

IV.   TRADE AND COMMERCE

      16.    Apple’s conduct alleged herein occurred within the flow of interstate

commerce, including in this District, and was intended to and did have a direct and

substantial effect upon such commerce.

      17.    Apple designed, manufactured, sold, and shipped iPhones in a

continuous and uninterrupted flow of interstate commerce throughout the United

States, which included sales of iPhones in this District, advertisement of iPhones in

media in this District, and employment of sales personnel in this District. Apple’s

conduct had and continues to have a direct, substantial, and reasonably foreseeable

effect on interstate commerce throughout the United States, including commerce

within this District.

V.    THE MOBILE PHONE INDUSTRY

      A.     Background

      18.    Mobile phones are portable devices that enable communication over

radio frequencies instead of telephone landlines. These signals are transmitted by

equipment covering distinct geographic areas, or “cells,” which is why mobile


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phones were originally called cell phones. Over time, mobile phones began to offer

a wider array of features, and more and more people bought a mobile phone. Today,

nearly every American adult owns a mobile phone.

      19.     Smartphones combine the functionality of a traditional mobile phone

with advanced hardware and software components. Smartphones not only can make

phone calls but allow users to listen to music, send text messages, take pictures, play

games, access software for work, manage their finances, and browse the internet.

Consumers choose between smartphones based, in part, on their functionality. In a

competitive market, smartphone manufacturers would vigorously compete and

innovate to provide the best functionality, for both hardware and software

components.

      B.      Smartphone Hardware

      20.     A smartphone’s hardware includes any element that is physical, such

as the screen, the battery, the camera, the processor, the memory, etc. Hardware

provides the basic functions and capabilities of the phone, such as displaying images,

storing data, capturing photos, making calls, and so on. Higher performing

smartphones typically contain better materials like glass and metal instead of plastic,

are manufactured to higher standards that make them more durable, and have higher

quality displays.




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      21.   Semiconductor chipsets are hardware that run the smartphone and

provide central processing of software instructions, graphics, video, display,

memory, data storage, and connection to wireless networks. Chipsets that offer

superior performance—faster processing and network connections, better graphics,

more storage—are costly and therefore included only in more expensive

performance smartphones. Superior smartphones typically have higher quality

cameras, longer battery life, and advanced biometrics, such as face scanning.

      22.   Smartphones also contain several antennas that allow the phone to

communicate with other smartphones, accessories, or other devices using standard

communication     protocols   such    as   Wi-Fi,    Bluetooth,   and    Near-Field

Communications (“NFC”).

        Ø   Wi-Fi, a wireless networking technology, uses radio waves to provide

wireless high-speed Internet access through mobile devices, computers, printers, and

other equipment. “Wi-Fi” refers to IEEE 802.11 standards that define the protocols

enabling communications with current Wi-Fi-enabled wireless devices.

        Ø   Bluetooth allows smartphones to use shortwave radios to communicate

with accessories like headphones and smartwatches. An industry-wide Bluetooth

standard specifies technological requirements so that all Bluetooth devices can

recognize and interact with each other.




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           Ø   NFC allows smartphones to interact with NFC-enabled devices, such

as a credit card terminal. NFC relies on short-range wireless technologies, including

radio signals, to communicate and share information.

      C.       Smartphone Operating Systems, Applications, and Other Software

      23.      Software drives the non-physical workings of a smartphone, such as the

operating system, apps, games, settings, etc. Software is responsible for telling the

hardware what to do and how to do it, such as launching apps, playing games,

adjusting brightness, connecting to Wi-Fi, and so forth.

      24.      A smartphone’s operating system is key software that manages both the

hardware and other software programs on the device. All iPhones are preloaded with

Apple’s proprietary, exclusive iPhone operating system called iOS. The only other

significant mobile operating system in the United States is Google’s Android, which

works with smartphones manufactured by Samsung, Google, Motorola, and smaller

players.

      25.      Software applications (“apps”) are programs that perform specific tasks

at the user’s request, such as sending messages, playing music, or web browsing.

Apps rely on the operating system to function. More specifically, apps communicate

with a smartphone’s operating system through application programming interfaces

(“APIs”).




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      26.    “Native” apps work with a particular smartphone operating system.

Apple’s native iOS apps work with iPhone, and native Android apps work with

Android smartphones.

      27.    Most app developers do not regard Android as a substitute for iOS or

iOS as a substitute for Android. Virtually all consumers use a single smartphone and

do not “multi-home” by carrying an Android phone and the iPhone at the same time.

Consequently, a developer cannot reach iPhone users on Android or Android users

on iPhones. Most developers therefore create native apps for both iOS and Android

to reach the greatest number of smartphone users.

      28.    Developing apps for the iPhone and for other smartphone platforms

enables users on one platform to reach users on the other. For example, a dating app

developer must ensure that users on iPhones can meet users on Android, and vice-

versa. A money-sharing app must ensure that Android device users can send money

to iPhone users, and vice versa.

      29.    To minimize the risks and costs of maintaining different features across

different smartphones, app developers typically provide a similar user experience

for native apps on iPhones and Android smartphones. Developers nonetheless must

program native apps to work with a specific operating system, and apps may not

interoperate or synchronize across different operating systems.




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      30.    “Middleware” software provides similar APIs and functionality across

different operating systems and devices. Developers thus can create cross-platform

applications without needing to write separate code for individual operating systems

or devices—developers can rely on the APIs exposed by the middleware rather than

APIs that only work on specific operating systems or devices. Apple has long

understood how, by increasing scale and interoperability, such middleware can help

promote competition.

      31.    Examples of middleware include internet browsers, internet or cloud-

based apps, super apps, and smartwatches. While not meeting the technical

definition of middleware, certain other products and services may have the same

economic effect as middleware, such as eliminating the added expense of adapting

a product or experience across different hardware or operating systems. Middleware,

as used herein, refers both to technical middleware and to products and services that,

while not technically middleware, have the same economic effect.

      32.    Cloud-based technologies run on hardware and software in remote

computing centers (“the cloud”). Although the user experiences the technology on

their smartphone, the complex computing that produces the experience and that

carries out user commands happens in the cloud. Thus, cloud apps can deliver rich

experiences on smartphones with less capable hardware than iPhones currently

contain.


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      D.     Smartphones Are Unique Platforms That Benefit from Being Open

      33.    Smartphones create a product platform through the cluster of services

and features that they offer. Smartphones not only make phone calls but also allow

users to listen to music, send text messages, take pictures, play games, access

software, manage their finances, and browse the internet.

      34.    Platforms like smartphones bring together different groups that benefit

from each other’s shared involvement. For example, a food delivery app brings

together restaurants, delivery people, and consumers.

      35.    The technology and economics of a smartphone platform differ from

that of a simultaneous transaction platform, such as a credit card. Smartphone

platforms compete on pricing and features independently of app store transactions.

Unlike with credit card transactions—where a single simultaneous action depends

on both sides of the transaction—consumers value smartphone platforms for a

variety of reasons other than facilitation of simultaneous transactions. Consumers

care about non-transactional smartphone components, such as its camera, and they

care about non-transactional app components, such as their features and

functionality.

      36.    A platform’s value to users—and to the platform operator—increases

with new apps and new features. To create these economic benefits for itself and its

users, Apple has opened its smartphone platform to third-party developers. Apple


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did so to capture the value produced by their inventions and innovations. No

extensive regulatory framework mandates that Apple allow third-party developers,

or oversees its interaction with them. In this way, smartphone platforms are distinct

from other platforms, like landline telephone networks, whose value-adding features

were built primarily by the platform operator, and which were only opened to third

parties as a result of regulation. When a third-party developer creates a valuable new

iPhone feature, consumers benefit and consumer demand for Apple’s products

increases. Thus, the iPhone smartphone platform has enormous value, derived in part

from the contributions of millions of developers. Absent the features and

functionality created by third-party developers, the iPhone would be less functional

for consumers and less profitable for Apple.

VI.   RISE OF APPLE’S MONOPOLY

      37.    In January 2001, Apple introduced iTunes, software built on Apple’s

QuickTime architecture, and advertised it as “Jukebox Software” for organizing and

listening to music. The initial version of iTunes was only compatible with Apple’s

Mac computers. Later that year, Apple debuted the iPod, a portable digital audio

player that worked alongside iTunes to “let[] you put your entire music collection in

your pocket and listen to it wherever you go.” Like iTunes, the initial iPod was only

compatible with Mac computers.




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      38.    In October 2003, partly enabled by the outcome of the Microsoft

antitrust litigation, Apple launched a cross-platform version of iTunes that was

compatible with the Windows operating system. As a result, a much larger group of

users could use the iPod and iTunes. The iTunes Store allowed users to buy and

download music and play it on their iTunes computer application or on the iPod.

Apple benefited substantially from this new customer base, selling hundreds of

millions of iPod devices over the next two decades.

      39.    The iPod business line established a blueprint for Apple: a premium

device, a large number of platform participants, and a digital storefront. Apple sought

to induce as many consumers and third-party participants to the iTunes platform as

possible and offer consumers a wide selection of content, products, and services

created by those third parties. With this structure, Apple profited from device sales

in the first instance and then from the fees that Apple charged consumers who

purchased the products and services it made available.

      40.    In 2007, Apple launched the iPhone, offering high-end hardware and

software applications, called “apps,” on a mobile operating system that mimicked

the functionality and ease of use of a computer. The pricing for the original iPhone

started at $499, or approximately $733 when adjusted for inflation. After the novelty

of the device subsided, for the following two models—the iPhone 3G (released in

2008) and the iPhone 3GS (released in 2009)—Apple charged $199 for a base model


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(or approximately $291 and $293, respectively, adjusting for inflation). While Apple

initially offered only a small number of iPhone apps, Apple soon realized how a

broader set of entrepreneurial, innovative developers could increase iPhone revenue.

Apple therefore invited third parties to offer iPhone users additional features, which

Apple itself controlled and monetized.

         41.     Apple invited third-party developers to create native iPhone apps.

Apple released a software development kit enabling native apps to be built for

Apple’s operating system (“iOS”). Apple also offered developers ways to earn

money through apps sales and subscriptions and other app features. By 2009, Apple

highlighted the value of third-party apps to iPhone users, with the trademarked

slogan: “There’s an app for that.”

         42.     In 2010, then-CEO Steve Jobs discussed how to “further lock

customers into our ecosystem” and “make Apple[’s] ecosystem even more sticky.”

In 2014, Apple executives continued to strategize about how to “get people hooked

to the ecosystem.”3

         43.     Since the iPhone’s inception, Apple has built and sustained the most

dominant U.S. smartphone ecosystem, including by attracting third-party developers

to create apps that users could download using the App Store, a digital storefront.




3
    DOJ Complaint, ¶ 3.


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As developers created improved products, content, apps, and services, more people

bought iPhones, motivating still more third-party app developers.

VII.   APPLE HAS MONOPOLY POWER IN THE RELEVANT MARKETS

       44.   Apple has monopoly power in the market for performance

smartphones. All smartphones compete against each other in a broad relevant

market. But industry participants, including Apple, assess competition among

smartphones in narrower markets that amount to submarkets of the larger all-

smartphone market.

       45.   The market for performance smartphones is the appropriate market.

Market participants, including Apple, do not consider entry-level smartphones

competitors to be a reasonable substitute for performance smartphones. Apple

chooses not to compete to sell new smartphones in the entry-level tier. The most

relevant market to assess its conduct therefore excludes this tier.

       46.   Regardless how the relevant market is framed, as set forth below, Apple

holds monopoly power.

       A.    The Relevant Markets Are Performance Smartphones and
             Smartphones
             1.     Performance Smartphones Are a Relevant Product Market

       47.   Performance smartphones are a relevant product market within the

broader smartphone market. This narrower market includes those smartphones that




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compete with most iPhones and excludes the lowest-end smartphones, which

industry participants sometimes refer to as “entry-level” smartphones.

         48.     Industry participants recognize performance smartphones as distinct.

They frequently group smartphones into tiers that include entry-level smartphones

and higher tiers such as “premium” or “flagship.” Apple has long recognized a

distinction between these higher-end smartphones and lower-end, entry-level

smartphones. Apple’s own documents demonstrate it does not consider entry-level

smartphones as competing with the iPhone and other performance smartphones.4

         49.     Performance smartphones have distinct characteristics and uses as

compared to other smartphones. For example, entry-level smartphones are generally

made with lower-quality materials and are less durable (e.g., plastic instead of metal

and glass). They have lower-performance components, such as slower processors

and lower-capacity storage, which prevent users from running more intensive

applications or storing large volumes of pictures and data. Entry-level smartphones

often lack features such as an NFC antenna allowing consumers to use their phone

to make payments or access passes for public transit.

         50.     Because of these differences, among others, between entry-level

smartphones and performance smartphones, entry-level smartphones are not

reasonable substitutes for performance smartphones. Moreover, competition from


4
    See DOJ Complaint, ¶ 167.


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non-performance smartphones is not sufficient today to prevent Apple from

exercising monopoly power in the performance smartphone market.

             2.    Smartphones Are a Broader, Alternative Relevant Product
                   Market

      51.    Smartphones also are a relevant product market, and are distinct from

mobile phones that offer less capable hardware and software options than

smartphones. These other phones, sometimes called “feature phones,” may offer

basic web browsing in addition to calling and messaging options, but do not offer

the breadth of access to the internet or third-party apps as smartphones. Similarly,

these phones often have lower-quality hardware, such as poorer displays or cameras,

and rely on physical keyboards instead of smartphone touch screens. Thus, these

phones are not reasonable substitutes for smartphones.

      52.    Smartphones are also distinct from other portable devices, such as

tablets, smartwatches, and laptop computers. These devices lack the combination of

portability, size, and function that consumers rely on in a smartphone, even if they

offer some similar capabilities. As such, none of these other products are reasonable

substitutes for smartphones.

      53.    Apple, other participants in the market, and the public recognize that

smartphones are distinct from feature phones and other portable devices.

      54.    Competition from feature phones, or other alternatives, is not sufficient

to prevent Apple from exercising monopoly power in the smartphone market.

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      B.    The United States Is a Relevant Geographic Market

      55.   The United States is a relevant geographic market for the sale of

performance smartphones and smartphones. Users in the United States demand

services offered by U.S. telecommunications companies when they purchase a

smartphone. While Apple sells smartphones worldwide, its users remain

geographically limited. Most U.S. consumers in the market for performance

smartphones use their phones in the United States. U.S. consumers who purchase a

smartphone require a service plan with a U.S. telecommunications company to

connect the phone to cellular and mobile networks.

      56.   In addition, potential new smartphone entrants to the U.S. market must

comply with telecommunications regulations and other legal requirements. Some

international smartphone makers are effectively barred from offering their

smartphones to U.S. consumers.

      57.   Consumers in the United States could not avoid or defeat an increase in

the price of performance smartphones or smartphones by purchasing and importing

smartphones from abroad. As a result, Apple sets prices for a smartphone in the

United States separately from the same smartphone in other countries. For example,

Apple reduced the price of the iPhone 11 in China relative to the United States

because Apple faced greater competition in China. The added competition derived

in part from a popular super app placing competitive pressure on Apple and making


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it easier for users to switch from an iPhone to a rival smartphone. Hence, competition

in China prevents Apple from commanding the same prices for the iPhone in China

than it does in the United States.

      C.     Apple Has Monopoly Power in the Performance Smartphone and
             Smartphone Markets in the United States

      58.    Apple has monopoly power in the smartphone and performance

smartphone markets because in each of these markets, Apple has the power to

control prices or exclude competition. Further, Apple holds substantial and durable

market shares in these markets. Apple’s market shares likely underestimate Apple’s

power as they are protected by significant barriers to entry, network effects, and

switching costs. Apple recognizes and exploits these barriers to entry, network

effects, and switching costs to repel competition from rival platforms and

innovations, products, and services that may diminish consumer reliance on the

iPhone. Apple’s power likely will increase.

      59.    Apple has the ability to set prices without regard to competition. The

price of an iPhone has increased significantly over the years. When released in June

2010, an iPhone 4 cost $199. The iPhone 15—released in 2023—started at $799 for

a base model, $899 for a Plus model, $999 for “X” and “Pro” models, and $1,199

for a “Pro Max” model. The chart below shows the pricing of various iPhone models

from 2007 to the present.




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      60.    Apple’s profits and profit margins, for nearly every aspect of the

iPhone, further evidence Apple’s monopoly power. Apple’s per-unit smartphone

profit margins far exceed those of its next most profitable rival. Apple charges

cellular carriers considerably more than its rivals to buy and resell its smartphones

to the public, and employs contract clauses that may impede the ability of carriers to

promote rival smartphones, a harmful exercise of monopoly power that is mostly

concealed from view. Apple also extracts fees from developers—as much as 30%

when users buy apps or make in-app payments. Apple also increasingly charges

developers additional fees to promote their apps in the App Store. This is one of the

fastest-growing parts of Apple’s services business, with revenue “increasing by

more than a third to $4.4B in FY 2022.”

      61.    Apple extracts a 0.15% commission from banks on credit card

transactions through its digital wallet; none of its smartphone competitors with

digital wallets, however, charge any fee. Apple predicts that it will collect nearly $1

billion in worldwide revenue from Apple Pay fees by 2025. A recent report by the

U.S. Consumer Financial Protection Bureau suggests these revenues will only

increase, as “analysts expect the value of digital wallet tap-to-pay transactions will

grow by over 150 percent by 2028.”

      62.    These indicia of Apple’s monopoly power are direct evidence of its

monopoly power in the relevant markets.


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       63.      Apple’s market shares in the smartphone and performance smartphone

markets are durable. Apple’s U.S. market share by revenue is over 70% in the

performance smartphone market and over 65% for all smartphones. Over the past

decade these market shares stabilized.

       64.      Apple’s smartphone market shares understate Apple’s dominance and

probable growth in key demographics, including among younger American

consumers. One-third of all American iPhone users were born after 1996, as

compared to just 10% for Samsung, Apple’s closest smartphone competitor.5

Surveys show that up to 88% of U.S. teenagers expect to purchase an iPhone for

their next smartphone.6 In addition, iPhone users tend to come from higher income

households.7 Because smartphone users generally use a single smartphone to access

related products and services, Apple’s key user groups enable it to capture greater

spending on iPhone-related products and services, realize higher margins per user as

compared to rivals, and exercise more control over developers and other market

participants.

       65.      The vast majority of app developers consider iPhones and Android

devices as complements, not substitutes, because developers must build apps that


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  https://www.tomsguide.com/news/the-iphone-is-no-1-with-gen-z-by-far-and-social-fear-is-a-big-reason-
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  https://www.pipersandler.com/teens
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  https://www.marketingdive.com/news/survey-iphone-owners-spend-more-have-higher-incomes-than-
android-users/541008/


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run on both platforms for single-homing consumers. In effect, the lack of multi-

homing among users necessitates multi-homing among developers. This market

reality enhances Apple’s power over developers that seek to reach users on

smartphones—especially performance smartphones running sophisticated apps.

          66.    Apple’s power over developers, in turn, further binds iPhone

purchasers to Apple’s ecosystem by limiting users’ ability to transfer their apps and

data to non-Apple devices, making it difficult if not impossible for users to switch

away from Apple devices. And as existing iPhone users commit to Apple, new

smartphone buyers are less likely to buy a non-Apple smartphone as a substitute for

an iPhone because buying an iPhone allows them to interact more seamlessly with

friends and family who already have iPhones. For these and other reasons, any

potential demand cross-elasticity between iPhones and other smartphones does not

prevent Apple from imposing monopolistic prices on iPhone purchasers.

          67.    Apple’s monopoly power in the relevant markets is protected by

substantial barriers to entry and expansion. With fewer than 10% of smartphone

purchasers in the United States buying their first smartphone,8 fewer new customers

are available for Apple’s rivals. Instead, rivals must encourage existing iPhone users

to switch to another smartphone when they replace or upgrade their phone. Hence,

switching costs—many of which Apple creates or exacerbates—impose substantial


8
    https://www.pewresearch.org/internet/fact-sheet/mobile/


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barriers to entry and expansion for rival smartphone manufacturers. These barriers

are growing increasingly impenetrable. Nearly 94% of iPhone owners in the United

States replace their iPhone with another iPhone.9 According to the DOJ Complaint,

one U.S. cellular carrier estimates that in a given quarter, as many as 98% of iPhone

users on its network replace or upgrade their iPhone with another iPhone. These

exceedingly high retention rates stem from the increased switching costs for

consumers due to Apple’s monopoly power and anticompetitive conduct.

      68.    Apple’s monopoly power in the relevant markets is protected by other

barriers to entry, expansion, or repositioning as well. For example, launching a new

smartphone requires significant investments in acquiring expensive and scarce

components such as mobile chips and specialized glass for screens. In addition to

supply, other major barriers to entry include product design, software development,

regulatory approval, manufacturing, marketing, and customer service. Also, because

consumers often buy smartphones through mobile carriers, new entrants or those

seeking to expand or reposition must meet the carriers’ technical requirements to

access the major carrier networks in the United States. New entrants and smaller

rivals also must negotiate distribution agreements and induce carriers and other

retailers to promote their products to consumers.


9
 https://www.nytimes.com/2023/09/11/technology/apple-iphone-
17.html#:~:text=The%20gap%20between%20the%20two,Partners%2C%20a%20technology%20research%
20firm.


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      69.    Apple’s iPhone platform is protected by several additional barriers to

entry and expansion, including strong network and scale effects and high switching

costs and frictions. An iPhone user who changes to an Android smartphone faces

significant financial, technological, and behavioral obstacles to switching. The user

may need to transfer large amounts of data (e.g., contacts), purchase new apps,

transfer or buy new subscriptions and accessories, and re-learn how to operate their

smartphone using a new interface. These switching costs and frictions are even

higher when the different devices and operating systems cannot communicate and

interoperate using software applications, APIs, and other functionality.

      70.    These entry barriers thwarted many large, well-financed companies

from entering the relevant markets. Amazon released its Fire mobile phone in 2014

but could not profitably sustain its business and exited the following year. Microsoft

discontinued its mobile business in 2017. HTC exited the market by selling its

smartphone business to Google in September 2017. Even LG exited the smartphone

market in 2021. Today, only Samsung and Google remain as non-Apple participants

in the U.S. performance smartphone market. Barriers are so high that Google is a

distant third to Apple and Samsung despite the fact that Google controls

development of the Android operating system.

      71.    Direct indicia confirm Apple’s monopoly power. For instance, Apple

can and does profitably forgo innovation without fear of losing customers to


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competitors. In February 2020, Apple’s vice president of iPhone marketing stated:

“In looking at it with hindsight, I think going forward we need to set a stake in the

ground for what features we think are ‘good enough’ for the consumer. I would argue

were [sic] already doing *more* than what would have been good enough.” After

identifying old features that “would have been good enough today if we hadn’t

introduced [updated features] already,” she explained, “anything new and especially

expensive needs to be rigorously challenged before it’s allowed into the consumer

phone.” In other words, because of Apple’s monopoly, American consumers receive

smartphone innovation that is only “good enough,” instead of the best possible

innovation as vigorous competition would require.

VIII. APPLE UNLAWFULLY MAINTAINS ITS MONOPOLY POWER

      72.    While indispensable to the success of the iPhone, developers and

accessory makers also pose an existential threat to Apple’s extraordinary profits by

empowering consumers to “think different” and choose perfectly functional, more

affordable, and potentially more innovative and attractive alternative smartphones.

Apple’s smartphone business model, at its core, invites as many participants as

possible, including iPhone users and third-party developers, to join its platform and

insists on contractual terms that impose a significant tax. At the same time, Apple

restricts its platform participants’ ability to negotiate or compete on price through

alternative app stores, in-app payment processors, and more. Apple delays, degrades,


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or outright blocks technologies that would facilitate competition in the smartphone

markets, including by decreasing barriers to switching to another smartphone. The

suppressed technologies would provide a high-quality user experience on any

smartphone, which in turn would require smartphones to compete on their merits,

and on price.

      73.    Apple suppresses innovation through contractual restrictions that it

selectively enforces through its control of app distribution and its “app review”

process. Moreover, Apple denies access to key points of connection between apps

and the iPhone’s operating system (called Application Programming Interfaces or

“APIs”). Apple can enforce these restrictions due to its position as an incumbent

intermediary between product creators such as developers, on the one hand, and

users on the other.

      74.    To protect its smartphone monopoly—and the extraordinary profits that

monopoly generates—Apple repeatedly chooses to make its products worse for

consumers to prevent competition from emerging. The non-exhaustive examples

summarized below, individually and collectively, have contributed to Apple’s ability

to acquire and maintain its smartphone monopoly, including by increasing switching

costs for users, leading to higher prices, fewer choices, reduced output, and less

innovation for users and developers alike. Apple has used one or both mechanisms




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(control of app distribution or control of APIs) to suppress the following

technologies, among others:

        Ø   Super apps provide a user with broad functionality in a single app.

Super apps can improve smartphone competition by providing a consistent user

experience that can be ported across devices. A single application can provide

multiple services including payment and instant messaging services, effectively

becoming an all-encompassing, self-contained commerce and communication

platform that embraces many aspects of personal and commercial life. Notable

examples of super apps include Alipay, Tencent’s WeChat in China, Tata Neu in

India and Grab in Southeast Asia. Apple’s suppression of super apps harms all

smartphone users—including Apple users—by denying them access to higher-

quality experiences, and harms developers by preventing them from innovating and

selling more products.

        Ø   Cloud streaming game apps provide users with a way to play

computing intensive games in the cloud. Cloud streaming games (and cloud

streaming in general) can prompt smartphone competition by decreasing the

importance of expensive hardware for accomplishing high-compute tasks on a

smartphone. Suppressing cloud streaming games harms users by denying them the

ability to play high-compute games, and it harms developers by preventing them

from selling such games to users.


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        Ø    Messaging apps allow users to communicate with friends, family, and

other contacts. Messaging apps that work equally well across all smartphones can

improve competition among smartphones by allowing users to switch phones

without changing how they communicate. Apple makes third-party messaging apps

on the iPhone worse, both generally and relative, to Apple Messages, Apple’s own

messaging app, including by prohibiting third-party apps from sending or receiving

carrier-based messages. By doing so, Apple intentionally degrades quality, privacy,

and security for its users and others without iPhones. Apple also harms developers

by artificially constraining the size of their user base.

        Ø    Smartwatches are an expensive accessory that typically must be paired

with a smartphone. Smartwatches that can be paired with different smartphones

permit users to retain their investment in a smartwatch when switching phones,

decreasing costs of switching from one smartphone to another. By suppressing key

functions of third-party smartwatches—including the ability to respond to

notifications and messages and to maintain consistent connections with iPhone—

Apple denies users access to high-performing smartwatches with preferred styling,

better user interfaces and services, or superior batteries. Apple likewise harms

smartwatch developers by decreasing their ability to innovate and sell products.

        Ø    Digital wallets are an increasingly important smartphone use. Digital

wallets that work across smartphone platforms allow users to move from one


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smartphone brand to another with decreased friction, among other benefits. Apple

has denied users access to digital wallets with enhanced features and denied digital

wallet developers—often banks but also other smartphone manufacturers—the

opportunity to deliver advanced digital payments services for their customers.

      75.    By maintaining its monopoly over smartphones, Apple harms

consumers in a wide variety of additional ways. For example, by denying iPhone

users the ability to choose a trusted banking app as their digital wallet, and instead

forcing users to use only Apple-authorized products in the digital wallet, Apple

keeps control over both the consumer and the stream of income generated. Apple

also prohibits the creation and use of alternative app stores curated to reflect a

consumer’s preferences with respect to security, privacy, or other values. These and

numerous other features, subject to competing innovation, would benefit consumers

and free them to decide what smartphone to buy and what apps and products to

patronize. Allowing consumers to make these choices, however, is an obstacle to

Apple’s ability to maintain its monopoly.

      A.     Apple Harms Competition by Imposing Contractual Restrictions,
             Fees, and Taxes on App Creation and Distribution

      76.    Soon after the iPhone’s introduction, Apple executives began to fear

that “disintermediation” of (activity that sidestepped) its platform and the

commoditization of the iPhone would threaten Apple’s substantial profits from

iPhone sales and related revenue streams. Apple exercised its control of app creation

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and app distribution in key cases to cement the iPhone and App Store as the primary

gateway to apps, products, and services. Apple often claims these rules and

restrictions are necessary to protect user privacy or security, but Apple’s documents

show otherwise: Apple imposes restrictions to benefit its bottom line by thwarting

direct, disruptive competition for its iPhone platform fees and for the importance of

the iPhone platform itself.

      77.    According to the co-founder and chief technology officer of the

Basecamp app:

             It’s complete tyranny, and the rules are often interpreted differently by
             different reviewers because they’re intentionally left vague. So we live
             in constant fear we may have violated these vague rules, and that the
             next update to our applications will be blocked by Apple. There are
             countless examples where developers large and small have been denied
             access to publish their applications without explanation for days or even
             weeks at a time.

      78.    Three aspects of Apple’s efforts to protect and exploit its smartphone

monopoly are worth noting. First, Apple exercises its control over app distribution

and app creation to dictate how developers innovate for the iPhone, enforcing rules

and contractual restrictions that prevent or delay developers from innovating in ways

that would threaten Apple’s power. Apple thereby influences and restrains the course

of digital innovation both on and off the iPhone.

      79.    Second, Apple dissuades iPhone users from using products and services

that compete with or threaten Apple’s monopoly. In doing so, Apple increases the


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cost and friction of switching away from the iPhone and generates extraordinary

profits through subscription services (like Apple’s proprietary music, gaming, cloud

storage, and news services), advertisements within the App Store, and accessories

like headphones and smartwatches.

      80.    Third, Apple extracts monopoly rents, including in the form of app fees

and revenue-share requirements, from third parties. Apple has long collected a tax

in the form of a 30% commission on the price of any app downloaded from the App

Store, a 30% tax on in-app purchases, and fees to access the tools needed to develop

an iPhone native app. While Apple has reduced the tax it collects in certain instances,

Apple still extracts 30% from many app transactions.

      81.    As Apple exercised its control of app distribution and app creation,

Apple slowed its own iPhone innovation and extracted more revenue and profit from

its existing customers through subscriptions, advertising, and cloud services. These

services have served to increase the cost of switching from the iPhone to another

smartphone. Many of these services—including Apple’s proprietary gaming, cloud

storage, and news service—are exclusive to the Apple ecosystem, causing

significant friction for iPhone users who try to use alternative services on another

smartphone. Apple’s conduct further shows that Apple recognized the importance

of digital products and services for the success of the iPhone, even as it restricted the




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development and growth of non-iPhone products and services—especially those that

might make it easier for iPhone users to switch to another smartphone.

      82.    Each step in Apple’s course of conduct built and reinforced its

smartphone monopoly. The cumulative effect of this course of conduct has been to

maintain and entrench Apple’s smartphone monopoly at the expense of consumers

such as Plaintiff. Despite major technological changes over several years, Apple’s

power to control app creation and distribution and extract supracompetitive rents has

remained largely the same, unconstrained by competitive pressures or market forces.

That this conduct—and the high prices it reifies—has been impervious to

competition reflects the success of Apple’s acquisition and maintenance of its

smartphone monopoly, the strength of that monopoly, and the extended durability of

Apple’s power.

      83.    Although Apple’s monopoly maintenance has taken many forms and

continues to evolve, Apple’s anticompetitive conduct is exemplified by its

contractual rules and restrictions for several products and services: super apps, cloud

streaming apps, messaging apps, smartwatches, and digital wallets. By stifling these

technologies, among others, Apple reinforces its smartphone monopoly not by

making its products more attractive to users, but by discouraging innovation that

threatens Apple’s monopoly and competitive disruption to the iPhone. The




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cumulative anticompetitive effect of Apple’s continuing course of exclusionary

conduct is even more powerful than that exerted by each act standing alone.

                 1.     Super Apps: Apple prevented apps from threatening its
                        smartphone monopoly by undermining programs that reduce
                        user dependence on the iPhone

          84.    For years, Apple denied its users access to super apps because it viewed

them as “fundamentally disruptive” to “existing app distribution and development

paradigms” and Apple’s monopoly power.10 Apple feared super apps because it

recognized that as they become popular, “demand for iPhone is reduced.” Apple

consequently used its control over app distribution and app creation to effectively

prohibit developers from offering super apps, instead of competing on the merits.

          85.    A super app is an app that can serve as a platform for smaller “mini”

programs. By using standard web programming languages, mini programs are cross

platform, meaning they work the same on any web browser and on any device.

Developers can therefore write a single mini program that works whether users have

an iPhone or another smartphone.

          86.    Super apps can provide significant benefits to users. For example, a

super app with an array of mini programs might allow users to easily discover and

access a wide variety of content and services without setting up and logging into

multiple apps, not unlike how Netflix allows users to find and watch thousands of


10
     DOJ Complaint, ¶ 60.


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movies and television shows in a single app. As one Apple executive put it, “who

doesn’t want faster, easier to discover apps that do everything a full app does?”

Restricting super apps makes users worse off and sacrifices the short-term

profitability of iPhones for Apple.

      87.    Super apps reduce user dependence on the iPhone, including the iOS

operating system and Apple’s App Store. A super app is a form of middleware that

can host apps, services, and experiences without requiring developers to use the

iPhone’s APIs or code.

      88.    As users interact with a super app, they rely less on the smartphone’s

proprietary software and more on the app itself. Eventually, users become more

willing to choose a different smartphone because they can access the same interface,

apps, and content they desire on any smartphone that has the same super app.

Developers can also write mini programs that run on the super app itself, without the

need for separate apps for iPhones and other smartphones. These dynamics lower

barriers to entry for smartphone rivals, decrease Apple’s control over third-party

developers, and reduce switching costs.

      89.    Apple recognizes that super apps with mini programs would threaten

its monopoly. According to the DOJ Complaint, as one Apple manager put it,

allowing super apps to become “the main gateway where people play games, book

a car, make payments, etc.” would “let the barbarians in at the gate.” When a super


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app offers popular mini programs, “iOS stickiness goes down” with the result of

eroding Apple’s monopoly.

          90.    Apple’s fear of super apps arises from first-hand experience with

popular super apps in Asia. Apple does not want U.S. users to benefit from similar

innovations. For example, in a Board of Directors presentation, Apple highlighted

the “[u]ndifferentiated user experience on [a] super platform” as a “major headwind”

to growing iPhone sales in countries with popular super apps due to the “[l]ow

stickiness” and “[l]ow switching cost.”11 Similarly, a super app created by a U.S.

company would threaten Apple’s smartphone dominance in the United States. Apple

noted as a risk in 2017 that a potential super app created by a specific U.S. company

would “replace[] usage of native OS and apps resulting in commoditization of

smartphone hardware.”12

          91.    Apple did not respond to the risk—that super apps might disrupt its

monopoly—by innovating. Instead, Apple used its control over app distribution to

stifle others’ innovation. Apple created, strategically broadened, and aggressively

enforced its App Store Guidelines to effectively block apps from hosting mini

programs. Apple’s conduct discouraged investments in mini program development




11
     DOJ Complaint, ¶ 66.
12
     Id.


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and caused U.S. companies to abandon or limit support for the technology in the

United States.

      92.     Part of what makes a super app valuable to consumers is that finding

and using mini programs within a super app is easier than navigating many separate

apps, passwords, and set-up processes using an app store like Apple’s. But instead

of making discovery and use of mini programs easy for users, Apple made it nearly

impossible.

      93.     Since at least 2017, Apple has arbitrarily imposed exclusionary

requirements that restrict mini programs and super apps without justification or need.

For example, Apple required apps in the United States to display mini programs

using a flat, text-only list of mini programs. Apple also banned displaying mini

programs with icons or tiles, such as descriptive pictures of the content or service

offered by the mini program. Apple even banned apps from categorizing mini

programs, such as by displaying recently played games or more games by the same

developer. These restrictions throttle use of mini programs and ultimately degrade

the iPhone by discouraging developers from creating apps and other content that

would be attractive to users.

      94.     Apple also selectively enforced its contractual rules with developers to

prevent them from monetizing mini programs. For example, even for developers

willing to pay Apple’s monopoly tax, Apple blocked mini programs from accessing


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the APIs needed to implement Apple’s in-app payment (“IAP”) system. Similarly,

Apple blocked developers’ ability to use in-app payment methods other than directly

using IAP. While Apple allows other, less-threatening apps to use a virtual currency,

Apple blocked super apps from creating a convenient virtual currency for consumers

to use in mini programs. Apple thus squelched super adds in their infancy in service

of its U.S. monopoly.

                 2.     Cloud Streaming Apps: Apple prevented developers from
                        offering cloud gaming apps that reduce dependence on the
                        iPhone

          95.    For years, Apple blocked cloud gaming apps that would have given

users access to desirable apps and content without need to pay for expensive iPhones.

In Apple’s words, it feared a world where “all that matters is who has the cheapest

hardware” and consumers could “buy[] a [expletive] Android for 25 bux at a garage

sale and … have a solid cloud computing device” that “works fine.”13 Apple’s

conduct made its own product worse because consumers missed out on cloud-based

apps and content. This conduct also cost Apple substantial revenues from third-party

developers. At the same time, Apple also stifled the growth of these cross-platform

apps on other smartphones. And Apple prevented the emergence of technologies that

could reduce what consumers pay for iPhones.




13
     DOJ Complaint, ¶ 71.


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          96.    Cloud streaming apps let users run a computationally intensive program

without needing to process or store the program on the smartphone itself. Instead, a

user’s smartphone relies on the computing power of a remote server, which runs the

program and streams the result back to the phone. Cloud streaming allows

developers to bring cutting-edge technologies and services to smartphone

consumers—including gaming and interactive artificial intelligence services—even

if their smartphone includes hardware that is less powerful than an iPhone.

          97.    Cloud streaming has significant benefits for users. Apple has promoted

the iPhone 15 by promising that its hardware is powerful enough to enable “next-

level performance and mobile gaming.”14 Yet powerful hardware is unnecessary if

games can be played via cloud streaming apps. With a cloud game, the user still

experiences and plays the game on the smartphone, but the game is run by hardware

and software in remote computing centers (“the cloud”). Thus, cloud gaming apps

allow gaming on smartphones without the need for users to purchase powerful,

expensive hardware. And, where different smartphones run desirable games equally

well, users with access to cloud streamed games may be more willing to switch from

an iPhone to a smartphone with less expensive hardware.

          98.    Cloud streaming also aids developers. For example, instead of re-

writing the same game for multiple operating systems, cloud platforms can act as


14
     DOJ Complaint, ¶ 73.


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middleware that allows developers to create a single app that works across iOS,

Android, and other operating systems. Cloud streaming also provides more and

simpler options for offering subscriptions, collecting payments, and distributing

software updates. All of this helps game developers achieve economies of scale and

profitability they might not otherwise reach and reduces their dependence on iOS

and Apple’s App Store.

      99.    Apple wielded its power over app distribution to effectively prevent

third-party developers from offering cloud gaming subscription services as a native

app on the iPhone. Even today, the iPhone does not allow cloud gaming

subscriptions.

      100. For years, Apple imposed the onerous requirement that any cloud

streaming game—or any update to a cloud streaming game—be submitted as a

stand-alone app for approval by Apple. The need to submit individual cloud games

for review by Apple increased the cost of releasing games on the iPhone and limited

the number of games a developer could make available to iPhone users. The highest

quality games, referred to as AAA games, typically require daily or even hourly

software updates across different platforms. If these updates need to be individually

approved by Apple, developers must either delay their updates across all platforms

or only update their games on non-iOS platforms, potentially making the iOS version




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of the game inferior to or incompatible with non-iOS versions until Apple approves

the update.

      101. Until recently, Apple would have required users to download cloud

streaming software separately for each individual game, install identical app updates

for each game individually, and make repeat visits to Apple’s App Store to find and

download games. Apple’s conduct made cloud streaming apps so unattractive to

users that no developer designed one for the iPhone.

      102. Apple further undermines cloud gaming apps by requiring cloud games

to use Apple’s proprietary payment system and requiring game overhauls and

payment redesigns specifically for the iPhone. Apple’s rules and restrictions

effectively force developers to create a separate iOS-specific version of their app

instead of creating a single cloud-based version that is compatible with several

operating systems, including iOS. As a result, developers expend substantial time

and resources re-engineering apps to bring cross-platform apps like multi-player

games to the iPhone.

      103. Cloud streaming apps in general, not limited to gaming, could force

Apple to compete vigorously against rivals. As one Apple manager recognized,

cloud streaming eliminates “a big reason for high-performance local compute” and

thus eliminates one of the iPhone’s advantages over other smartphones because “all




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that matters is who has the cheapest hardware.”15 The result is a lessened need for

users to buy expensive phones with advanced hardware. This problem does not “stop

at high-end gaming,” but applies to “a number of high-compute requirement

applications.”16

       B.     Apple Uses Application Programming Interfaces and Other
              Critical Access Points in the Smartphone Ecosystem to Control the
              Behavior of Third Parties to Insulate Itself from Competition

       104. Allied to its anticompetitive restrictions on super apps and cloud

streaming apps, Apple uses APIs and other critical access points in the smartphone

ecosystem, particularly in messaging, smartwatches, and digital wallets, to control

the behavior of third parties and further insulate itself from competition.

              1.      Messaging: Apple protects its smartphone monopoly by
                      degrading and undermining cross-platform messaging apps and
                      rival smartphones

       105. Apple         undermines   cross-platform   text messaging    to   cement

“obstacle[s] to iPhone families giving their kids Android phones.”17 Apple could

have made a better cross-platform messaging experience by creating iMessage for

Android but concluded that doing so “will hurt us more than help us.”18 Apple

therefore continues to impede innovation in smartphone messaging, for the purpose



15
   DOJ Complaint, ¶ 79.
16
   Id.
17
   Id. at ¶ 80.
18
   Id.


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of maintaining its monopoly power, even though doing so sacrifices profits Apple

would earn from increasing the value of the iPhone to users.

           106. Messaging apps allow smartphone users to communicate with friends,

family, and other contacts and often account for the primary way users interact with

their smartphones. In Apple’s own words, messaging apps are “a central artery

through which the full range of customer experience flows.”19

           107. Smartphone messaging apps operate using “protocols”—the systems

that enable communication and determine the features available when users interact

with each other via messaging apps.

           108. One important protocol used by messaging apps is SMS. SMS offers a

broad user network, but limited functionality. For example, all mobile phones can

receive SMS messages, but SMS does not support modern messaging features, such

as large files, edited messages, or reactions like an emoji.

           109. Many messaging apps—such as WhatsApp, Facebook Messenger, and

Signal—use proprietary, internet-based protocols, which are sometimes referred to

as OTT (“over the top”) protocols. OTT messaging typically involves more secure

and advanced features, such as encryption, typing indicators, read receipts, the

ability to share rich media, and disappearing messages. While all mobile phones can

send and receive SMS messages, OTT only works between users who sign up for


19
     Id. at ¶ 81.


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and communicate through the same messaging app. Thus, a user cannot send an OTT

message to someone who does not also use the same messaging app.

      110. Apple makes third-party messaging apps on the iPhone worse generally

and relative to iMessage, Apple’s own messaging app. By doing so, Apple

intentionally degrades quality, privacy, and security for its users. For example,

Apple designates the APIs needed to implement SMS as “private,” meaning third-

party developers have no technical means of accessing the APIs and are prohibited

from doing so under their contracts with Apple. As a result, third-party messaging

apps cannot combine the “text to anyone” functionality of SMS with the advanced

features of OTT messaging. Instead, if a user wants to send a message to someone

in a third-party messaging app, they must first confirm whether the person has the

same messaging app and, if not, ask that person to download and use a new

messaging app. By contrast, if an iMessage user wants to send somebody a message,

they just type their phone number into the “To:” field and send the message because

iMessage incorporates SMS and OTT messaging.

      111. Apple prohibits third-party developers from incorporating other

important features into their messaging apps as well. For example, third-party

messaging apps cannot continue operating in the background when the app is closed,

which impairs functionality like message delivery confirmation. And when users

receive video calls, third-party messaging apps cannot access the iPhone camera to


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allow users to preview their appearance on video before answering a call. iMessage

incorporates these features.

      112. If third-party messaging apps could use these features, they would be

more valuable and attractive to users, and the iPhone would be more valuable to

Apple in the short term. For example, by incorporating SMS, users would avoid the

hassle of convincing someone to download a separate app before sending them a

message. Third-party messaging apps could also offer the ability to schedule SMS

messages to be sent in the future, suggest replies, and support robust multi-device

use on smartphones, tablets, and computers—features these apps have already

incorporated on Android.

      113. Moreover, messaging apps benefit from significant network effects—

as more people use the app, there are more people to communicate with through the

app, which makes the app more valuable and in turn attracts more users.

Incorporating SMS would help third-party messaging apps increase their network

and gain more users. Instead, Apple limits the reach of third-party messaging apps

and reinforces network effects that benefit Apple’s smartphone monopoly.

      114. Recently, Apple has stated that it plans to incorporate more advanced

features for cross-platform messaging in iMessage by adopting a 2019 version of the

RCS protocol (which combines aspects of SMS and OTT). Apple has not done so

yet, and even if it did, the RCS protocol would not reverse Apple’s efforts to


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undermine third-party messaging apps because third-party messaging apps still will

be prohibited from incorporating RCS, just as they are prohibited from incorporating

SMS. The RCS standard also will continue to improve over time, and if Apple does

not support later versions, cross-platform messaging using RCS could become

ineffective on iPhones.

      115. In addition to degrading the quality of third-party messaging apps,

Apple affirmatively undermines the quality of rival smartphones. For example, if an

iPhone user messages a non-iPhone user in iMessage—the default messaging app

on an iPhone—the message text appears to the iPhone user as a green bubble and

has limited functionality: the conversation is not encrypted, videos are pixelated and

grainy, and users cannot edit messages or see typing indicators. These flaws signal

to users that rival smartphones are lower quality because the experience of

messaging friends and family who do not own iPhones is worse—even though

Apple, not the rival smartphone, accounts for the degraded user experience. Many

non-iPhone users also experience social stigma, exclusion, and blame for “breaking”

chats where other participants own iPhones. This effect is particularly powerful for

certain demographics, like teenagers, for whom the iPhone’s share exceeds 85%,

according to one survey. The result is to reinforce switching costs and lead users to

continue buying iPhones, not because Apple made its smartphone better, but because

it made communicating with other smartphones worse.


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       116. Apple recognizes that its conduct harms users and makes it more

difficult to switch smartphones. As early as 2013, Apple’s Senior Vice President of

Software Engineering explained that supporting cross-platform OTT messaging in

iMessage “would simply serve to remove [an] obstacle to iPhone families giving

their kids Android phones.”20 In March 2016, Apple’s Senior Vice President of

Worldwide Marketing forwarded an email to CEO Tim Cook making the same point:

“moving iMessage to Android will hurt us more than help us.21

       117. In 2022, Mr. Cook was asked whether Apple would fix iPhone-to-

Android messaging. The questioner said, “It’s tough not to make it personal but I

can’t send my mom certain videos.” Mr. Cook responded: “Buy your mom an

iPhone.”22

       118. Apple’s conduct in furtherance of its smartphone monopoly includes

naked, uninhibited restraints. It recently blocked a third-party developer from fixing

the cross-platform messaging experience in iMessage and providing end-to-end

encryption for messages between iMessage and Android users. By rejecting

solutions that would allow for cross-platform encryption, Apple continues to make

iPhone users’ less secure than they otherwise could be.




20
   DOJ Complaint, ¶ 91.
21
   Id.
22
   Id. at ¶ 92.


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            2.     Smartwatches: Apple protects its smartphone monopoly by
                   impeding the development of cross-platform smartwatches

      119. Apple deploys smartwatches, an expensive accessory, to prevent

iPhone customers from choosing other phones. After copying the idea of a

smartwatch from third-party developers, Apple now prevents those developers from

innovating and limits the Apple Watch to the iPhone to prevent reduced iPhone sales.

      120. Smartwatches are wrist-worn devices with an interactive display and

related apps that let users perform various functions besides telling the time,

including monitoring health data, responding to messages and notifications, and

performing mobile payments. Smartwatches generally must be paired with a

smartphone to operate and use their full functionality, such as receiving and

responding to emails and text messages or answering phone calls. Because a

smartwatch is costly, users are less willing to choose a smartphone if it is not

compatible with their smartwatch.

      121. Apple makes its Apple Watch compatible only with the iPhone. If,

therefore, Apple can steer a user toward buying an Apple Watch, it becomes costlier

for that user to purchase a different kind of smartphone because doing so would

inhibit use of their Apple Watch.

      122. Cross-platform smartwatches, in contrast, can reduce iPhone users’

dependence on Apple’s proprietary hardware and software. If a user purchases a

third-party smartwatch that is compatible with the iPhone as well as other

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smartphones, they can switch from the iPhone to another smartphone (or vice versa)

simply by downloading the companion app on their new phone and connecting to

their smartwatch via Bluetooth. Furthermore, as users interact with a smartwatch,

including by accessing apps from their smartwatch instead of their smartphone, users

rely less on a smartphone’s proprietary software and more on the smartwatch itself.

This shift also makes it easier for users to switch from an iPhone to a different

smartphone.

           123. Apple recognizes that marketing and selling an Apple Watch, rather

than a third-party cross-platform smartwatch, helps drive iPhone sales and reinforce

its smartphone monopoly. In a 2019 email, the Vice President of Product Marketing

for Apple Watch acknowledged that Apple Watch “may help prevent iPhone

customers from switching.”23 Surveys have reached similar conclusions: many users

say that other devices linked to their iPhone are the reason they do not switch to

Android.

           124. Apple also recognizes that making Apple Watch compatible with

Android would “remove [an] iPhone differentiator.”24

           125. Apple uses its control of the iPhone, including its technical and

contractual control of APIs, to degrade the functionality of third-party cross-



23
     Id. at ¶ 98.
24
     Id. at ¶ 99.


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platform smartwatches. First, Apple does not permit iPhone users with third-party

smartwatches to respond to notifications. Second, Apple inhibits third-party

smartwatches from maintaining a reliable connection with the iPhone. And third,

Apple undermines the performance of third-party smartwatches that connect directly

with a cellular network. Apple thereby constrains user choice and crushes innovation

that might fill in the moat around Apple’s smartphone monopoly.

           126. The ability to respond to notifications, such as new messages or app

alerts, directly from a smartwatch is a top consideration for smartwatch purchasers—

and one of the most used product features where it is available. According to Apple’s

own market research, the ability to “[s]end and receive text messages from social

and messaging apps” is a core smartwatch feature.25 In 2013, when Apple started

offering users the ability to connect their iPhones with third-party smartwatches,

Apple gave third-party smartwatch developers access to various APIs related to the

Apple Notification Center Service, Calendar, Contacts, and Geolocation. But, after

introducing the Apple Watch the next year, Apple began limiting third-party access

to new and improved APIs for smartwatch functionality. For instance, Apple

prevents third-party smartwatches from accessing APIs related to more advanced

Actionable Notifications, such that iPhone users cannot use a third-party smartwatch

to respond to notifications. Instead, Apple limits third-party smartwatches to APIs


25
     Id. at ¶ 101.


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that do not let users respond to a message, accept a calendar invite, or take other

actions available on Apple Watch.

      127. A reliable Bluetooth connection is essential for a smartwatch to connect

wirelessly with a smartphone, and thereby function as a companion to the

smartphone and unlock its full functionality. But Apple prohibits third-party

smartwatch developers from maintaining a connection, even if a user accidentally

turns off Bluetooth in the iPhone’s control center. In the same scenario, Apple allows

an Apple Watch to maintain a connection because Apple understands that users

sometimes disable Bluetooth without realizing that doing so disconnects their watch.

iPhone users thus have a worse experience when they try to use a third-party

smartwatch with their iPhone. Apple also requires third-party smartwatch users to

turn on “Background App Refresh” and disable the battery-saving “Low Power

Mode” in their iPhone settings to remain consistently connected to their companion

app, which is necessary for the iPhone and smartwatch to update and share data (e.g.,

exercise tracking data), even though Apple does not impose similar requirements for

Apple Watch.

      128. Cellular-enabled smartwatches allow the user to connect directly to a

cellular network to make calls, send messages, and download data even if their

smartwatch is not paired to a smartphone. Cellular-enabled smartwatches are

popular with consumers, making up approximately 20% of Apple Watch sales.


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Apple Watch users can use the same phone number for their smartphone and

smartwatch when connected to the cellular network. Messages then are delivered to

both the user’s smartphone and smartwatch, providing an integrated messaging

experience. Although Apple has the technological means to permit the same

functionality for an iPhone user with a third-party smartwatch, Apple instead

requires these users to disable Apple’s iMessage service on the iPhone before they

can use the same phone number for both devices. The centrality of text messaging,

however, makes this option highly inconvenient. In practice, an iPhone user with a

third-party smartwatch must maintain separate phone numbers for the two devices,

worsening their user experience, and may miss out on receiving messages sent to

their primary iPhone number.

                     3.   Digital Wallets: Apple restricts cross-platform digital wallets on
                          the iPhone, reinforcing barriers to consumers switching to rival
                          smartphones

           129. According to Apple, using a digital wallet will eventually become

“something people do every day of their lives.”26 But Apple has used its control over

app creation, including its technical and contractual control over API access, to

effectively block third-party developers from creating digital wallets for iPhone with

tap-to-pay functionality. Apple maintains complete control over how users make

tap-to-pay payments with their iPhone. Apple deprives users of the benefits and


26
     Id. at ¶ 104.


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innovations third-party wallets would provide for the express purpose of protecting

“Apple’s most important and successful business, iPhone.”27

           130. Digital wallets are apps that allow a user to store and use passes and

credentials, such as credit cards, personal identification, movie tickets, and car keys.

For example, with a digital wallet, someone can make an in-person payment by

tapping their device on a payment terminal. Digital wallets also can be used for

transactions in mobile apps and mobile websites. And, but for Apple’s restrictive

conduct, cross-platform digital wallets could also be used to manage and pay for

subscriptions and in-app purchases.

           131. Apple Wallet, Apple’s proprietary digital wallet on the iPhone,

incorporates Apple’s proprietary payment system Apple Pay, which processes

digital payments on the web, in apps, and at merchant points of sale.

           132. Apple Wallet currently offers users a way to make these payments using

their iPhone. Apple envisions that Apple Wallet will eventually replace several

functions of physical wallets to become a single app for shopping, digital keys,

transit, identification, travel, entertainment, and more. Apple believes that, as users

rely on Apple Wallet for payments and other functions, it “drive[s] more sales of

iPhone and increase[s] stickiness to the Apple ecosystem” because Apple Wallet is




27
     Id.


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only available on the iPhone.28 Switching to a different smartphone would thus mean

abandoning the familiarity of an everyday app, setting up a new digital wallet, and

potentially losing access to data or credentials stored in Apple Wallet.

           133. The absence of cross-platform digital wallets with tap-to-pay capability

on the iPhone makes it harder for iPhone users to purchase a different smartphone.

Cross-platform digital wallets could provide an easier and potentially more secure

way for users to switch from the iPhone to another smartphone. If third-party

developers could create cross-platform wallets available for use on the iPhone, users

transitioning away from the iPhone could continue to use the same wallet, with the

same cards, IDs, payment histories, peer-to-peer payment contacts, and other

information, making it easier to change smartphones. And because many users

already use apps created by their preferred banks, if banks offered digital wallets or

the ability to use their banking services through a third-party digital wallet, users

could access new apps and technologies without needing to share their private

financial data with Apple and other third parties. In the short term, these improved

features would make the iPhone more attractive to users and profitable for Apple.

           134. Tap-to-pay—i.e., the ability to make in-person payments by tapping

your smartphone on a payment terminal—is the most important function attracting

users to a digital wallet for smartphones. Apple uses its control over app creation


28
     Id. at ¶ 108.


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and API access to selectively prohibit developers from accessing the near-field

communication (“NFC”) hardware needed to provide tap-to-pay via an app.

       135. Apple Wallet is the only app on the iPhone that can use NFC to facilitate

tap-to-pay. Apple encourages banks, merchants, and other parties to participate in

Apple Wallet, yet blocks these same partners from developing new payment

products for iPhone users.

       136. Apple also uses its smartphone monopoly to extract payments from

banks, whose customers use digital wallets on iPhones. Since Apple first launched

Apple Pay, it has charged issuing banks 15 basis points (0.15%) for each credit card

transaction mediated by Apple Pay. In contrast, smartphone payment apps from

Samsung and Google are free to issuing banks. Apple’s fees create a significant

expense for issuing banks and drain funding for features and benefits that banks

might otherwise offer smartphone users. The volume of transactions affected by

Apple Pay and its fee regime is large and growing. A U.S. Consumer Financial

Protection Bureau report estimates that Apple Pay in 2022 facilitated nearly $200

billion in U.S. transactions, and notes that “analysts estimate that the value of digital

wallet tap-to-pay transactions will grow by over 150 percent by 2028.”29




29
  https://www.consumerfinance.gov/data-research/research-reports/big-techs-role-in-contactless-payments-
analysis-of-mobile-device-operating-systems-and-tap-to-pay-practices/full-report/


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          137. App developers have sought direct NFC access for their payment or

wallet apps. Apple prohibits developers from using tap-to-pay functionality in their

apps, as that would “be one way to disable [A]pple [P]ay trivially,” leading to the

“proliferation of other payment apps” that might operate cross-platform and end up

undermining Apple’s smartphone monopoly.30

          138. Apple allows merchants to use the iPhone’s NFC antenna to accept

consumers’ tap-to-pay payments. Nor is there a technical limitation on permitting

developers NFC access for third-party wallets. Apple has acknowledged it is feasible

to allow an iPhone user to set another app (e.g., a bank’s app) as the default payment

app; Apple has announced its intention to allow this functionality in Europe.

          139. Apple undermines the viability of third-party wallets by limiting their

ability to furnish a simple, fast, and comprehensive solution to online purchasing.

Apple further impedes the adoption of alternative digital wallets by restricting third

parties from offering the same ability to authenticate digital payments on checkout

pages online.

          140. Apple also blocks other digital wallets from replacing Apple’s in-app

payment (“IAP”). This restriction prevents these wallets from increasing their

attractiveness, and improving the overall iPhone user experience, by offering

consumer experiences such as rewards points in purchasing, digital receipts, returns,


30
     DOJ Complaint, ¶ 114.


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loyalty programs, and digital coupons for purchases of relevant app subscriptions or

products. Apple explicitly prohibits developers on its App Store from notifying users

in the developer’s app that alternative digital wallets or direct payments may permit

more affordable prices for services.

      141. Apple intentionally degrades the experience of its own users by

blocking them from accessing wallets with better or different features. In so doing,

Apple furthers reliance on the iPhone and imposes fees on a large slice of all digital

wallet NFC transactions—which the U.S. Consumer Financial Protection Bureau

estimates will grow to $451 billion by 2028.

      C.     Apple Uses a Similar Playbook to Maintain Its Monopoly Through
             Many Other Products and Services

      142. The exclusionary and anticompetitive acts described above are part of

Apple’s ongoing course of conduct to build and maintain its smartphone monopoly.

They are illustrative and non-exhaustive, and reflect Apple’s overall strategy of

using its power over app distribution and app creation to selectively block

threatening innovations.

      143. Apple has deployed a similar playbook for a broader range of third-

party apps and services as well, many of which present technologies that function as

middleware, facilitate switching, reduce the need for expensive hardware, or

disintermediate Apple’s iPhone by enabling the development of cross-platform

technologies. Apple has undermined third-party location trackable devices that fully

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function across platforms. Apple has impaired third-party, cross-platform video

communication apps while steering users to its own video communication app,

FaceTime. Apple has limited the capabilities of third-party iOS web browsers,

including by requiring that they use Apple’s browser engine, WebKit. Apple has

impeded cross-platform cloud storage apps for the purpose of steering iPhone users

into iCloud, making it harder to transfer data between different devices. Protocols

that Apple has placed around new “eSIM” technology may make it even harder for

consumers to switch to a different phone while maintaining the same phone number.

Apple has used restrictions in sales channels to impede the sale and distribution of

rival smartphones. And Apple has worsened its users’ experience by making it

difficult for iPhone users to use superior voice and AI assistants, steering them to

use Siri as a voice assistant.

       144. In the wake of its rapid growth, Apple has been repeatedly accused of

anticompetitive conduct by private citizens, U.S. enforcers, and international

regulators including the following:

            • Apple has been the subject of investigations by a variety of international

               competition authorities for antitrust violations and anticompetitive

               practices;31


31
  See, e.g., Press Release, Eur. Comm’n, Antitrust: Commission Opens Investigation into Apple Practices
Regarding Apple Pay (June 16, 2020), https://ec.europa.eu/commission/presscorner/detail/en/ip_20_1075;
Foo Yun Chee, Apple in Dutch Antitrust Spotlight for Allegedly Promoting Own Apps, Reuters (Apr. 11,
2019), https://www.reuters.com/article/usapple-antitrust-netherlands/apple-in-dutch-antitrust-spotlight-for-

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            • Apple has faced a variety of private antitrust lawsuits in the United

              States, including relating to its practices with respect to offering apps

              in the app store;32

            • In 2010, Apple resolved an antitrust action with the DOJ involving

              allegations that it conspired with other technology companies to reduce

              or eliminate competition for employees through non-solicitation or “no

              poach” agreements—Apple later agreed to pay $415 million in a joint

              settlement agreement to resolve a class action filed by impacted

              employees;

            • In 2012, the DOJ and attorneys general of 33 state sued Apple for an

              alleged conspiracy to fix prices in the eBooks market—Apple was

              ultimately found to have violated state and federal antitrust laws and

              paid $450 million as a consequence; and



allegedly-promoting-own-appsidUSKCN1RN215; Italy Antitrust Opens Inquiry into Google, Apple,
Dropbox on Cloud Computing, Reuters (Sept. 7, 2020), https://www.reuters.com/article/us-google-italy-
antitrust/italyantitrust-opens-inquiry-into-google-apple-dropbox-on-cloud-computing-idUSKBN25Y0YM;
Tim Hardwick, Apple and Amazon Under Investigation by Italian Watchdog for Alleged Price Fixing,
Apple Insider (July 22, 2020), https://www.macrumors.com/2020/07/22/apple-amazon-italyalleged-price-
fixing/.
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   See, e.g., Nick Statt, Epic Games Is Suing Apple, Verge (Aug. 13, 2020), https://www
.theverge.com/2020/8/13/21367963/epic-fortnite-legal-complaint-apple-ios-app-store-removal-injunctive-
relief; Reed Albergotti, Apple Suppressed Competitors in Its App Store—Until It Got Caught, a Lawsuit
Alleges, Wash. Post (Dec. 20, 2019), https://www.washingtonpost .com/technology/2019/12/20/apple-
suppressed-competitors-its-app-store-until-it-got-caught-lawsuit-alleges/; Bob Van Voris & Peter
Blumberg, Apple App Developers Jump on Silicon Valley Antitrust Bandwagon, Bloomberg (June 4,
2019), https://www.bloomberg.com/news/articles/ 2019-06-04/apple-inc-sued-by-app-developers-claiming-
antitrust-violations; David G. Savage & Suhauna Hussain, Supreme Court Rules Apple Can Face Antitrust
Suits from iPhone Owners over App Store Sales, L.A. Times (May 13, 2019),
https://www.latimes.com/politics/la-na-polsupreme-court-apple-smart-phone-20190513-story.html.


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          • In 2021, Apple agreed to pay $100 million to resolve claims by certain

             software developers who accused the company of monopolizing the

             market for app development and charging developers excessive

             commissions on app sales.

      145. The strategies Apple has employed to date are not the only ones Apple

can use to achieve its anticompetitive and lucrative ends. As technology evolves,

Apple continues to evolve and shift its anticompetitive behavior to protect its

monopoly power. For example, in recent years, Apple has increasingly offered its

own subscription services, including news, games, video, music, cloud storage, and

fitness subscriptions that help keep users tethered to the iPhone platform. These

subscription services and other ancillary fees form a considerable part of Apple’s net

revenue and add to the cost of an iPhone. These subscriptions services can increase

switching costs among iPhone users. If an Apple user can only access their

subscription service on an iPhone, they may experience costs, lost time, lost content,

and other frictions or difficulties if they try to switch to a non-Apple smartphone or

subscription service.

      146. These subscription services also increase Apple’s power over content

creators and newspapers, among others, by exerting control over how audiences

access their work, decreasing traffic to their websites and apps, and positioning

Apple as default broker in the relationship between creators and users. In so doing,


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Apple takes on outsize importance and control in the creative economy, which may

lessen incentives to fund, make, and distribute artistic content, harming the public at

large.

IX.      ANTICOMPETITIVE EFFECTS

         A.   Apple’s Conduct Harms Competition

         147. Apple protects its monopoly power in smartphones and performance

smartphones by using its control over app distribution and app creation to suppress

or delay apps, innovations, and technologies that would reduce user switching costs

or simply allow users to discover, purchase, and use their own apps and content

without having to rely on Apple. As a result, Apple faces less competition from rival

smartphones and less competitive pressure from innovative, cross-platform

technologies, not because Apple makes its own products better but because it makes

other products worse. Fueled by the absence of competition, Apple extracts

extraordinary profits and regulates innovation to serve its interests. These monopoly

dynamics leave all smartphone users worse off, with fewer choices, higher prices

and fees, lower quality smartphones, apps, and accessories, and less innovation from

Apple and others. Left unchallenged, Apple will continue to use and strengthen its

longstanding smartphone monopoly to dictate how companies can create and

distribute apps in the future so that they cannot threaten Apple’s dominant

competitive position.


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       148. Apple’s conduct has resulted in less choice for smartphone users.

Today, only two companies (Google and Samsung) remain as meaningful

competitors to Apple’s monopoly share of the premium smartphone market. And

Apple’s conduct has increased the technical, behavioral, monetary, and other costs

of switching from an iPhone to an alternative smartphone. This undermines

competition and entrenches Apple’s monopoly power.

       149. According to user surveys, one of the biggest reasons iPhone users

today do not switch to rival smartphones is to avoid the problems Apple has created

for cross-platform messaging.33 Likewise, Apple exercised its control over app

distribution and app creation to impede the development and growth of super apps,

depriving users of technology that would have facilitated switching by decreasing

user’s dependence on the iPhone platform. Apple took a similarly restrictive

approach to cloud streaming apps, suppressing technology that would have made it

easier for users to switch to more affordable smartphones. Apple also used its control

over app creation, including its control over critical APIs, to impose technical and

contractual restrictions on messaging apps, third-party smartwatches, and digital

wallets, heading off cross-platform technologies that would have helped users

overcome switching costs and friction in a more competitive market.



33
  See https://www.wsj.com/articles/why-apples-imessage-is-winning-teens-dread-the-green-text-bubble-
11641618009.


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      150. Apple also has delayed or suppressed the emergence of cross-platform

technologies that would limit Apple’s ability to extract extraordinary profits from

users and developers. For example, if developers could distribute their programs

through super apps or cloud streaming apps, rather than the App Store, Apple’s

ability to control app distribution and app creation would be limited, and it could not

impose the same exorbitant taxes on developers wishing to distribute apps to iPhone

users. Similarly, third-party digital wallets, or other apps with tap-to-pay

functionality, would benefit users and developers by putting more competitive

pressure on Apple. Digital wallets eventually could provide developers an

alternative way to process payments and manage customer relationships, forcing

Apple to compete more aggressively by lowering fees and improving quality,

ultimately benefiting users. Instead, when users pay for something with their phone,

Apple continues to exert its power over customers and financial institutions.

      151. Apple’s conduct has harmed users in other ways. For example, third-

party digital wallets could provide smartphone users better rewards (e.g., cash back),

as well as a more private, secure payment experience from a user’s preferred

financial institution as opposed to a payment mediated by Apple. But because of

Apple’s anticompetitive activity, these tap-to-pay digital wallet products and

services do not exist today.




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      152. Apple’s conduct has made its own products worse, sacrificing the short-

term profits Apple could earn from improving the iPhone to preserve the long-term

value of maintaining its monopoly. In a competitive market, Apple would compete

aggressively to support the development of popular apps and accessories for iPhone

users, which in turn would make iPhones more attractive and more valuable to users.

But as set forth above, Apple takes steps to delay or suppress cross-platform

technologies that it recognizes would be popular with users, such as super apps and

cloud streaming apps, because they threaten Apple’s smartphone monopolies. As a

result, several developers have abandoned plans to develop super apps and cloud-

based gaming apps even after investing in bringing them to market. Similarly, Apple

degrades third-party messaging apps, even though doing so makes cross-platform

messaging less private and less secure for iPhone users, because the seamless and

reliable use of these third-party apps would reduce switching costs for users

interested in a non-iPhone smartphone. Apple has also impeded innovation by third-

party smartwatches, causing manufacturers to limit the functionality of their

smartwatches for iPhone users. These third-party firms have suspended support for

iPhone compatibility because of Apple’s restrictions or canceled development of

cross-platform smartwatches altogether. At least one company’s canceled

smartwatch formed part of its overall wearables strategy, including future

development of virtual-reality technology. Apple’s conduct may have also slowed


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the development of innovative apps related to education, artificial intelligence, and

productivity.

          153. Apple’s conduct has harmed other smartphone users, too. Because of

the resources and risks required to maintain different features across different

smartphones, many potential super app, mini program, and other developers do not

implement features prohibited by Apple even on other smartphones. For example,

restrained by Apple Wallet and its various limitations, prospective digital wallet

providers, including U.S. banks, have abandoned the development of digital-wallet

apps for either Apple or other smartphones.34 Another company decided not to offer

users an innovative digital car key in part because Apple required that company to

add any features related to the key in Apple Wallet rather than allowing the key to

be placed solely in the company’s own app.35 Other developers have discontinued

plans to launch super apps, cloud-streamed gaming apps, smartwatches, and other

apps. As a result, all smartphone users find themselves with lower quality

smartphones, less innovation, decreased quality, lower output, and less choice.

          154. Apple’s documents and conduct show that Apple is motivated by the

anticompetitive purpose of building and maintaining monopoly power in the relevant

markets. For example, Apple sacrificed substantial revenues it could have earned



34
     DOJ Complaint, ¶ 132.
35
     Id.


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from super apps, mini programs, cloud streaming apps, and other third-party apps

and accessories. In particular, mobile gaming already accounts for a large and

growing portion of Apple’s revenue. Popular cloud streamed gaming apps would

offer iPhone users access to popular services (including games) and in turn generate

significant revenue for Apple through subscriptions and in-app purchases. Instead,

Apple preferred the long-term benefit of reduced smartphone competition to the

revenue it would generate from cloud gaming, super apps, and mini programs or the

increases in quality (and consumer demand) that would flow from this innovation.

Apple has also used its control over app distribution and app creation to selectively

undermine cross-platform technologies, not because this helps protect users but

because it helps protect Apple.

      155. The harms to smartphone competition caused by Apple’s conduct are

amplified by Apple’s decision to grant itself exclusive distribution rights to iPhone

users through the Apple App Store. If Apple allowed users to access apps in other

ways, users could choose an app store that did not restrict super apps or mini

programs, even if Apple otherwise ran its App Store as it does today. Apple does not

allow that choice, however, because if it did, developers could write their programs

for any smartphone rather than specifically for iOS—just as internet browsers and

Apple’s QuickTime allowed developers to write programs that worked on a variety

of operating systems, not just Windows. If Apple were to permit access to apps other


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than through the App Store, the result would be lower switching costs for users and

less dependence by users and developers upon Apple and the iPhone.

      156. Apple’s smartphone monopoly gives it many levers to maintain its

power even in the face of interventions designed to curtail specific anticompetitive

practices. This is because Apple’s iPhone monopoly, secured by its anticompetitive

conduct, grants it the power to set the rules by which most smartphone users buy

digital and hardware products, and by which developers are allowed to sell these

same products to users. If Apple is forced to change some of these rules, it has the

power to adopt new rules, restrictions, or features that reinforce Apple’s monopoly

and harm competition in other ways. For example, Apple has stated plans to adopt

RCS due to market and international regulatory pressure. But Apple continues to

contractually restrict third parties from accessing other APIs and features that would

enable cross-platform messaging apps. In another instance, Apple was enjoined from

enforcing certain anti-steering provisions in its agreements with developers. In

response, Apple simply created a different set of onerous restrictions on app

developers to achieve a similar result. In other cases, Apple has used its control over

app distribution to force companies to comply with Apple’s policies that may

contradict local laws by delaying the review of the offending companies’ apps.




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      B.    Apple Has Every Incentive to Use Its Monopoly Playbook
            Indefinitely

      157. Apple’s conduct poses significant risk to the development of new

innovations. Absent court intervention, Apple may use its smartphone monopoly

playbook to acquire or maintain power over next-frontier devices and technologies.

As Apple increases its dominance, it may continue delaying or stifling the

innovations of cross-platform companies to lock users into Apple devices.

      158. Apple has countless products and services—AirPods, iPads, Music,

Apple TV, photos, maps, iTunes, CarPlay, AirDrop, Apple Card, and Cash. These

provide future avenues for Apple to engage in anticompetitive conduct and the

ability to circumvent remedies. Appropriate forward-looking remedies are necessary

to ensure that Apple cannot use these products and services to further entrench its

monopoly power.

X.    PRIVACY, SECURITY, AND OTHER ALLEGED COUNTERVAILING
      FACTORS DO NOT JUSTIFY APPLE’S ANTICOMPETITIVE
      CONDUCT

      159. There is no valid, procompetitive benefit of Apple’s exclusionary

conduct that would outweigh its anticompetitive effects. Apple’s conduct has not

resulted in lower prices, higher quality-adjusted output, improved innovation, or a

better user experience for smartphone users.

      160. Apple markets itself by invoking user privacy and security to

differentiate itself from what limited competition exists in the smartphone market.


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Neither privacy nor security justifications provide a legitimate excuse for Apple’s

monopolistic and anticompetitive conduct. Apple imposes contractual restraints on

app creation and distribution, imposes hefty fees on many types of smartphone

interactions, and conditionally restricts API access on its smartphone platform

simply because it can. There are limited if any competitive constraints on this

conduct. Apple’s control over app distribution and creation on the iPhone is

substantially more restrictive than necessary to protect user privacy and security. By

way of comparison, Apple does not engage in such conduct on its Mac laptops and

computers. It instead gives developers the freedom to distribute software directly to

consumers on Mac without using an Apple-controlled app store and without paying

Apple app store fees. Mac users still enjoy a safe and secure experience.

      161. In fact, many alternative technologies that Apple’s conduct suppresses

could or would enhance user security and privacy. For example, Apple’s conduct

targeting digital wallets forces users to share information with Apple even if they

would prefer to share that information solely with their bank, medical provider, or

other trusted third party. When an iPhone user provides a credit or debit card in

Apple Wallet, Apple intervenes in a process that could otherwise occur directly

between the user and card issuer, introducing an additional point of failure for

privacy and security. Likewise, super apps or alternative app stores could offer users

and their families a more curated selection of apps that better protect user privacy


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and security. Apple, in fact, allows enterprise and public sector customers to offer

more curated app stores on employee iPhones because this better protects privacy

and security.

      162. Apple is also willing to make the iPhone less secure and less private if

that helps maintain its monopoly power. For example, text messages sent from

iPhones to Android phones are unencrypted as a result of Apple’s conduct. If Apple

wanted to, Apple could allow iPhone users to send encrypted messages to Android

users while still using iMessage on their iPhone, which would instantly improve the

privacy and security of iPhone and other smartphone users. Apple’s intentional

failure to encrypt cross-platform text messaging reveals Apple’s privacy justification

as a thinly veiled effort to provide cover for its true business imperative of holding

onto its monopoly over U.S. smartphones.

      163. Apple is willing to sacrifice user privacy and security where doing so

benefits Apple. For example, Apple allows developers to distribute apps through its

App Store that collects vast amounts of personal and sensitive data about users—

including children—at the expense of its users’ privacy and security. Apple also

enters agreements to share in the revenue generated from advertising that relies on

harvesting users’ personal data. For example, Apple accepts massive payments from

Google to set its search engine as the default in the Safari web browser even though

other search engines better protect user privacy.


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      164. Apple also selectively enforces its rules and contractual restrictions for

app distribution and app creation. For example, when it benefits Apple to do so,

Apple permits developers to introduce mini programs, stream content from the

cloud, use virtual currency, and receive special permissions or access APIs not

automatically available to everyone.

      165. Apple chooses to make the iPhone private and secure when doing so

benefits Apple but follows alternative courses when they help Apple protect its

monopoly power. Apple’s conduct underscores the pretextual nature of any claim

that its market share or restrictions could be justified by protecting user privacy or

security.

XI.   CLASS ALLEGATIONS

      166. Plaintiff brings this action for damages and injunctive relief on behalf

of themselves and a class of similarly situated persons and entities pursuant to

Federal Rules of Civil Procedure, Rule 23(a), (b)(1), (b)(2) and (b)(3), with the class

initially defined to include:

             Class: All persons or entities that purchased an iPhone directly from
             Apple.

      167. The class definition excludes the following persons or entities: (a)

Apple; (b) any of Apple’s parent companies, subsidiaries, and affiliates; (c) any of

Apple’s officers, directors, management, employees, subsidiaries, affiliates or




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agents; (d) all governmental entities; (e) the judges and staff in this case, as well as

any members of their immediate families; and (f) all jurors assigned to this case.

      168. While Plaintiff does not know the exact number of class members, the

nature of the trade and commerce at issue makes clear that there are millions of class

members geographically dispersed throughout the United States, such that joinder

of all class members in the prosecution of this action is impracticable.

      169. Plaintiff’s claims are typical of the claims of the other class members

because Plaintiff purchased an iPhone directly from Apple.

      170. Numerous questions of law or fact common to the entire class arise

from Apple’s anticompetitive and unlawful conduct, including, without limitation:

             a.     Whether there is a relevant antitrust product market for

 smartphones;

             b.     Whether there is a relevant antitrust product market (or

 submarket) for performance smartphones;

             c.     Whether Apple has unlawfully monopolized the smartphone

 and/or performance smartphone markets;

             d.     Whether purchasers and users of smartphones have been harmed,

 including by having paid more for smartphones than they would have, but for

 Apple’s anticompetitive conduct;




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                e.   Whether Apple committed unfair practices in the conduct of its

 business;

                f.   Whether Plaintiff and class members are entitled to injunctive

 and corresponding declaratory relief to halt Apple’s unlawful practices; and

                g.   Whether Plaintiff and class members are entitled to damages or

 restitution.

       171. These and other questions of fact and law are common to the class and

predominate over any questions affecting class members individually.

       172. Plaintiff will fairly and adequately represent the interests of the class.

Each Plaintiff purchased an iPhone directly from Apple within the United States and

has no conflicts with any other member of the class. Plaintiff has retained

sophisticated and competent counsel experienced in prosecuting antitrust class

actions.

       173. Apple has acted on grounds generally applicable to the class, thereby

making final injunctive relief and corresponding declaratory relief appropriate with

respect to the class as a whole.

       174. This class action is superior to other alternatives for the fair and

efficient adjudication of this controversy. Prosecuting the claims pleaded herein as

a class action will eliminate the possibility of repetitive litigation. There will be no

material difficulty in the management of this action as a class action.


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         175. The prosecution of separate actions by individual class members would

create the risk of inconsistent or varying adjudications, establishing incompatible

standards of conduct for Apple.

XII.     STANDING AND ANTITRUST INJURY

         176. Plaintiff purchased iPhones directly from Apple at inflated prices that

resulted from Apple’s anticompetitive and monopolistic practices, as alleged herein.

Apple therefore caused Plaintiff to suffer overcharge damages.

         177. Charging supracompetitive prices to direct purchasers like Plaintiff was

the purpose and direct effect of Apple’s alleged monopolization conduct. Plaintiff

has standing as a direct purchaser of products and services sold to her by Apple at

inflated prices. Plaintiff is an efficient enforcer of the antitrust laws who suffered

injury that flows from what makes Apple’s business practices described in this

Complaint antitrust violations.

         178. Because Apple continues to engage in the anticompetitive practices

alleged in this Complaint, Plaintiff is reasonably likely to incur future overcharges

when she purchases additional or replacement smartphones.

         179. Both the actual harm and the threat of future harm to Plaintiff are

cognizable antitrust injuries directly caused by Apple’s violations. The full amount

of such overcharge damages will be calculated after discovery and upon proof at

trial.


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XIII. TOLLING OF THE STATUTES OF LIMITATIONS

      A.     The Statutes of Limitations Did Not Begin to Run Because Plaintiff
             Did Not and Could Not Discover Her Claims

      180. Prior to the filing of the Department of Justice’s complaint against

Apple, Plaintiff and class members had no knowledge of Apple’s anticompetitive

conduct, or of facts sufficient to place them on inquiry notice of the claims asserted

herein.

      181. Plaintiff and class members paid for iPhones at artificially inflated

prices or otherwise suffered economic loss as a result of Apple’s wrongful exercise

of monopoly power in the relevant markets.

      182. Other than dealing directly with Apple when purchasing their iPhones

or other Apple products, Plaintiff had no direct contact or interaction with Apple and

had no means from which she could have discovered its wrongful conduct.

      183. There was no information in the public domain sufficient to put Plaintiff

and class members on notice that Apple had wrongfully acquired a monopoly or was

using its monopoly power to charge supra-competitive prices for its products.

      184. It was reasonable for Plaintiff and class members not to suspect that

Apple was engaging in any unlawful anticompetitive behavior.

      185. Plaintiff alleges a continuing course of unlawful conduct by Apple,

including conduct within the applicable limitations periods. That conduct has

inflicted continuing and accumulating harm.

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      186. For these reasons, the statutes of limitations applicable to Plaintiff’s and

class members’ claims have been tolled with respect to the claims asserted herein.

      B.     Apple’s Fraudulent         Concealment       Tolled    the   Statutes    of
             Limitations

      187. Additionally or alternatively, application of the doctrine of fraudulent

concealment tolled the statutes of limitations on Plaintiff’s claims. Plaintiff and class

members had no knowledge of Apple’s wrongful acquisition and maintenance of

monopoly power in the relevant markets, or of facts sufficient to place them on

inquiry notice of her claims. No information in the public domain or otherwise

available to Plaintiff and class members suggested that Apple had wrongfully

acquired a monopoly or was using its monopoly power to charge supra-competitive

prices for its products.

      188. Apple concealed its illicit conduct, both by failing to disclose its

wrongful acquisition and maintenance of a monopoly through exclusionary acts in

the relevant markets, and by affirmatively denying that it was engaged in such

conduct. Apple has (repeatedly) publicly denied allegations by U.S. and foreign

regulators that it was abusing its market power and engaging in anticompetitive or

other unlawful conduct in the relevant markets. The market for consumer electronic

products like iPhones is subject to antitrust regulation, so it was reasonable for

Plaintiff and class members to presume that iPhones were sold in a competitive

market. A reasonable person under the circumstances would not have suspected

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iPhones were being sold at supra-competitive prices at any time before these claims

accrued or before the Department of Justice filed its suit on March 21, 2024.

      189. Because Apple’s antitrust violations were self-concealing and

affirmatively concealed by Apple, Plaintiff and class members had no knowledge of

Apple’s antitrust violations or of any facts or information that would have caused a

reasonably diligent person to suspect Apple of having wrongfully acquired and

maintained monopoly power. Therefore, by operation of Apple’s fraudulent

concealment, the statutes of limitations applicable to Plaintiff’s and class members’

claims were tolled.

XIV. CLAIMS FOR RELIEF

                              COUNT ONE
 Monopolization of the Performance Smartphone Market in the United States
                         Sherman Act, 15 U.S.C. § 2

      190. Plaintiff hereby repeats and incorporates by reference each preceding

paragraph as though fully set forth herein.

      191. Performance smartphones in the United States are a relevant antitrust

market, and Apple has monopoly power in that market.

      192. Apple has willfully monopolized and illegally maintained such

monopoly of the performance smartphone market in the United States through an

exclusionary course of conduct and the anticompetitive acts described herein. Each




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of Apple’s actions individually and collectively increased, maintained, or protected

its performance smartphone monopoly.

      193. Apple’s anticompetitive acts include, but are not limited to, its

contractual restrictions against app creation, distribution, and access to APIs that

have impeded apps and technologies including, but not limited to, super apps, cloud

streaming, messaging, wearables, and digital wallets. The areas identified in this

complaint reflect a non-exhaustive list of recent anticompetitive acts; as technology

advances, both the technologies impeded and the particular type of impediment may

shift in response to technological and regulatory change consistent with Apple’s past

conduct.

      194. While each of Apple’s acts is anticompetitive in its own right, Apple’s

interrelated and interdependent actions have had a cumulative and self-reinforcing

effect that has harmed competition and the competitive process. Apple’s

anticompetitive acts have had harmful effects on competition and consumers.

      195. Apple’s exclusionary conduct lacks a procompetitive justification that

offsets the harm caused by Apple’s anticompetitive and unlawful conduct.

      196. As a result of Apple’s anticompetitive conduct, Plaintiff and the class

paid supracompetitive prices for iPhones purchased in the United States.




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                             COUNT TWO
  Attempted Monopolization of the Performance Smartphone Market in the
                              United States
                      Sherman Act, 15 U.S.C. § 2
                           (In the Alternative)

      197. Plaintiff hereby repeats and incorporates by reference each preceding

paragraph as though fully set forth herein.

      198. Performance smartphones in the United States are a relevant antitrust

market, and Apple has attempted to monopolize that market.

      199. Apple has attempted to monopolize the performance smartphone

market in the United States through an exclusionary course of conduct and the

anticompetitive acts described herein. Each of Apple’s actions individually and

collectively increased Apple’s market power in the performance smartphone market.

      200. Apple’s anticompetitive acts include, but are not limited to, its

contractual restrictions against app creation, distribution, and access to APIs that

have impeded apps and technologies including, but not limited to, super apps, cloud

streaming, messaging, wearables, and digital wallets. The areas identified in this

complaint reflect a non-exhaustive list of recent anticompetitive acts but as

technology advances, both the technologies impeded and the particular type of

impediment may shift in response to technological and regulatory change consistent

with Apple’s past conduct.




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      201. While each of Apple’s acts is anticompetitive in its own right, Apple’s

interrelated and interdependent actions have had a cumulative and self-reinforcing

effect that has harmed competition and the competitive process.

      202. In undertaking this course of conduct, Apple has acted with specific

intent to monopolize, and to destroy effective competition in, the performance

smartphone market in the United States. There is a dangerous probability that, unless

restrained, Apple will succeed in monopolizing the performance smartphone market

in the United States, in violation of Section 2 of the Sherman Act.

      203. Plaintiff and the class are entitled to damages for Apple’s attempted

monopolization in an amount to be proven at trial.

                              COUNT THREE
        Monopolization of the Smartphone Market in the United States
                         Sherman Act, 15 U.S.C. § 2

      204. Plaintiff hereby repeats and incorporates by reference each preceding

paragraph as though fully set forth herein.

      205. Smartphones in the United States are a relevant antitrust market, and

Apple has monopoly power in that market.

      206. Apple has willfully monopolized and unlawfully maintained such

monopoly of the smartphone market in the United States through an exclusionary

course of conduct and the anticompetitive acts described herein. Each of Apple’s




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actions individually and collectively increased, maintained, or protected its

smartphone monopoly.

      207. Apple’s anticompetitive acts include, but are not limited to, its

contractual restrictions against app creation, distribution, and access to APIs that

have impeded apps and technologies including, but not limited to, super apps, cloud

streaming, messaging, wearables, and digital wallets. The areas identified in this

complaint reflect a non-exhaustive list of recent anticompetitive acts but as

technology advances, both the technologies impeded and the particular type of

impediment may shift in response to technological and regulatory change consistent

with Apple’s past conduct.

      208. While each of Apple’s acts is anticompetitive in its own right, Apple’s

interrelated and interdependent actions have had a cumulative and self-reinforcing

effect that has harmed competition and the competitive process.

      209. Apple’s anticompetitive acts have had harmful effects on competition

and consumers.

      210. Apple’s exclusionary conduct lacks a procompetitive justification that

offsets the harm caused by Apple’s anticompetitive and unlawful conduct.

      211. As a result of Apple’s anticompetitive conduct, Plaintiff and the class

paid supracompetitive prices for iPhones purchased in the United States.




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                             COUNT FOUR
  Attempted Monopolization of the Smartphone Market in the United States
                       Sherman Act, 15 U.S.C. § 2
                           (In the Alternative)

      212. Plaintiff hereby repeats and incorporates by reference each preceding

paragraph as though fully set forth herein.

      213. Smartphones in the United States are a relevant antitrust market, and

Apple has attempted to monopolize that market.

      214. Apple has attempted to monopolize the smartphone market in the

United States through an exclusionary course of conduct and the anticompetitive

acts described herein. Each of Apple’s actions individually and collectively

increased Apple’s market power in the smartphone market.

      215. Apple’s anticompetitive acts include, but are not limited to, its

contractual restrictions against app creation, distribution, and access to APIs that

have impeded apps and technologies including, but not limited to, super apps, cloud

streaming, messaging, wearables, and digital wallets. The areas identified in this

complaint reflect a non-exhaustive list of recent anticompetitive acts but as

technology advances, both the technologies impeded and the particular type of

impediment may shift in response to technological and regulatory change consistent

with Apple’s past conduct.




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      216. While each of Apple’s acts is anticompetitive in its own right, Apple’s

interrelated and interdependent actions have had a cumulative and self-reinforcing

effect that has harmed competition and the competitive process.

      217. In undertaking this course of conduct, Apple has acted with specific

intent to monopolize, and to destroy effective competition in, the smartphone market

in the United States. There is a dangerous probability that, unless restrained, Apple

will succeed in monopolizing the smartphone market in the United States, in

violation of Section 2 of the Sherman Act.

      218. Plaintiff and the class are entitled to damages for Apple’s attempted

monopolization in an amount to be proven at trial.

XV.   PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, on behalf of the class, respectfully request that the

Court enter judgment by adjudging and decreeing that:

             A.    This action may proceed as a class action, with Plaintiff serving

as the Class Representatives and his counsel serving as Class Counsel;

             B.    Apple has monopolized in violation of the Sherman Act;

             C.    Plaintiff and the class have been injured in their business and

property as a result of Apple’s violations;




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             D.     Plaintiff and the class are entitled to recover three-fold damages,

and that judgment in favor of Plaintiff and the class be entered against Apple in an

amount subject to proof at trial;

             E.     Plaintiff and the class are entitled to pre-judgment and post-

judgment interest on the damages awarded them, and that such interest be awarded

at the highest legal rate;

             F.     Plaintiff and the class are entitled to equitable relief sufficient to

remedy Apple’s past and ongoing restraints of trade, including:

                    i.       A judicial declaration of the rights of Plaintiff and the

class, and the corresponding responsibilities of Apple; and

                   ii.       Issuance of a permanent injunction against Apple and its

parents, subsidiaries, affiliates, successors, transferees, assignees and the respective

officers, directors, partners, agents, and employees thereof and all other persons

acting or claiming to act on their behalf from violations of the law as alleged herein;

             G.     Apple is responsible financially for the costs and expenses of a

Court-approved notice program designed to give immediate notification of this

action and their rights to the class members;

             H.     Plaintiff and the class recover their costs of this suit, including

reasonable attorneys’ fees, as provided by law; and




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             I.       Plaintiff and the class receive such other or further relief as may

be just and proper.

XVI. JURY TRIAL DEMANDED

      Plaintiff demands a trial by jury of all claims so triable.

Dated: April 1, 2024                      Respectfully submitted,
                                          By: /s/ Jeffrey B. Gittleman
                                          POGUST GOODHEAD LLC
                                          Jeffrey B. Gittleman (NJ ID No. 031351996)
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                                          jsnyder@bonizack.com

                                          Counsel for Plaintiff and the Proposed
                                          Classes
                                          * pro hac vice to be filed

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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                            DEFENDANTS
          Jacqueline Watson                                                                                       Apple Inc.

   (b) County of Residence of First Listed Plaintiff             New York County, NY                         County of Residence of First Listed Defendant              Santa Clara County, CA
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                             NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                        THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)

       Pogust Goodhead LLC, 161 Washington Street, Suite 250,
       Conshohocken PA 19428; T: (610) 941-4204

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                        PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                          Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                         of Business In This State

  2    U.S. Government                 4   Diversity                                                Citizen of Another State            2          2   Incorporated and Principal Place        5       5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                               of Business In Another State

                                                                                                    Citizen or Subject of a             3          3   Foreign Nation                          6       6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                       Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                                FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                       PERSONAL INJURY                  PERSONAL INJURY                 625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane                    365 Personal Injury -                of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product                Product Liability            690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability                  367 Health Care/                                                        INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &                Pharmaceutical                                                    PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                        Personal Injury                                                   820 Copyrights                    430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’              Product Liability                                                 830 Patent                        450 Commerce
  152 Recovery of Defaulted                Liability                  368 Asbestos Personal                                                 835 Patent - Abbreviated          460 Deportation
       Student Loans                  340 Marine                          Injury Product                                                        New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product                  Liability                                                         840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment              Liability                 PERSONAL PROPERTY                          LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle               370 Other Fraud                  710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits             355 Motor Vehicle               371 Truth in Lending                 Act                                                                485 Telephone Consumer
  190 Other Contract                      Product Liability           380 Other Personal               720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability      360 Other Personal                  Property Damage                  Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                           Injury                      385 Property Damage              740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                      362 Personal Injury -               Product Liability            751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                          Medical Malpractice                                              Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS                 PRISONER PETITIONS                790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights          Habeas Corpus:                   791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                     441 Voting                      463 Alien Detainee                   Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment                  510 Motions to Vacate                                                 870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                   443 Housing/                        Sentence                                                               or Defendant)                896 Arbitration
  245 Tort Product Liability              Accommodations              530 General                                                           871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -      535 Death Penalty                    IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                          Employment                  Other:                           462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -      540 Mandamus & Other             465 Other Immigration                                                  950 Constitutionality of
                                          Other                       550 Civil Rights                     Actions                                                                State Statutes
                                      448 Education                   555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3      Remanded from              4 Reinstated or                 5 Transferred from
                                                                                                                               6 Multidistrict     8 Multidistrict
    Proceeding             State Court                             Appellate Court              Reopened                        Another District
                                                                                                                                   Litigation -      Litigation -
                                                                                                                                   Transfer
                                                                                                                                (specify)            Direct File
                    Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                     15 U.S.C. § 15 & 26, 15 U.S.C. § 2
VI. CAUSE OF ACTION Brief description of cause:
                     Defendant unlawfully maintains monopoly power on the smartphone industry.
VII. REQUESTED IN       CHECK IF THIS IS A CLASS ACTION                   DEMAND $                                     CHECK YES only if demanded in complaint:
     COMPLAINT:         UNDER RULE 23, F.R.Cv.P.                                                                       JURY DEMAND:             Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                        JUDGE
                                                                                   Hon. Michael E. Farbiarz, U.S.D.J.
                                                                                                                                            DOCKET NUMBER 2:24-cv-04055
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
04/01/2024                                                               /s/ Jeffrey B. Gittleman
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                      APPLYING IFP                                      JUDGE                           MAG. JUDGE
                Case 2:24-cv-04445-MEF-LDW
                        Case MDL No. 3113 Document
JS 44 Reverse (Rev. 04/21)                 Document12-5
                                                    1-1 Filed
                                                        Filed 04/08/24
                                                              04/01/24 Page
                                                                       Page 94
                                                                            2 ofof294
                                                                                    PageID: 92
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
        in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
        United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
        United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
        Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
        to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
        precedence, and box 1 or 2 should be marked.
        Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
        citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
        cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
        section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
        that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket. PLEASE
        NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to changes in
        statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related cases, if any. If there are related cases, insert the docket numbers and the
      corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
